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                                UNITED STATES DISTRICT COURT
   8
                               CENTRAL DISTRICT OF CALIFORNIA
   9
        ANTHONY BOUYER,                              Case No:
   10                                                2:20−cv−03852−JAK−AGR
                          Plaintiff(s),
   11
        vs.                                          STANDING ORDERS FOR CIVIL CASES
   12 ATHANASIOS YORTZIDIS, et al.,                  ASSIGNED TO JUDGE JOHN A.
                                                     KRONSTADT
   13                     Defendant(s).

   14
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   16
   17
   18         This Order incorporates the Court’s:

   19         1. Initial Standing Order for Civil Cases Assigned to Judge John A. Kronstadt

   20    (Exhibit A);

   21         2. Initial Standing Order for Patent Cases Assigned to Judge John A. Kronstadt

   22    (Exhibit B);

   23         3. Order Setting Rule 16(b)/26(f) Scheduling Conference (Exhibit C);

   24         4. Schedule A: Schedule of Pretrial and Trial Dates re Order Setting Rule 16(b)/26(f)

   25    Scheduling Conference for Civil Cases, Patent Cases and ERISA Cases (Exhibit C-1);

   26         5. Order Re Jury/Court Trial for Cases Assigned to Judge John A. Kronstadt

   27    (Exhibit D);

   28         6. Standing Protective Order for Cases Assigned to Judge John A. Kronstadt


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        (Exhibit E);
   2         7. Format for Evidentiary Objections (Exhibit F); and

   3         8. Format for Summary Chart for Motions for Attorney’s Fees (Exhibit G). Please read

   4    each Order carefully as they differ in some respects from the Local Rules.

   5         Counsel are advised that the Court, at any time, may amend one or more of its

   6    Standing Orders. It is the responsibility of counsel to refer to this Court’s Procedures

   7    and Schedules found on the website for the United States District Court, Central District

   8    of California (www.cacd.uscourts.gov) to obtain the operative order.

   9         The Court thanks the parties and their counsel for their anticipated cooperation in

   10   carrying out these requirements.

   11
   12
   13 Dated: April 30, 2020
   14                                         JOHN A. KRONSTADT
                                              UNITED STATES DISTRICT COURT
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   7                               UNITED STATES DISTRICT COURT

                                  CENTRAL DISTRICT OF CALIFORNIA
   8
   9    Plaintiff’s Name(s),                         Case No.:                         JAK ( x)

                         Plaintiff(s),
   10                                                 INITIAL STANDING ORDER FOR CIVIL
              vs.                                     CASES ASSIGNED TO JUDGE JOHN A.
   11                                                 KRONSTADT
        Defendant’s Name(s),
   12
                       Defendant(s).
   13
   14
   15
   16
   17    This case has been assigned to the calendar of Judge John A. Kronstadt. Both the Court

   18    and counsel bear responsibility for the progress of this litigation in federal court. To “secure

   19    the just, speedy, and inexpensive determination” of this case, as called for in Fed. R. Civ.

   20    P. 1, all parties or their counsel are ordered to become familiar with the Federal Rules of

   21    Civil Procedure, the Local Rules of the Central District of California, and this Court’s

   22    Standing Orders.

   23    THE COURT ORDERS AS FOLLOWS:

   24    1.    Service of the Complaint

   25          The plaintiff shall promptly serve the complaint in accordance with Fed. R. Civ. P. 4

   26    and file the proofs of service using the Court’s Civil Form CV-001 pursuant to Local Rule

   27    5-3. Although Fed. R. Civ. P. 4(m) does not require the summons and complaint to

   28    be served for 90 days, the Court expects service as soon as service can reasonably be


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        accomplished. The Court will require plaintiff to show good cause to extend the service
   2    deadline beyond 90 days.

   3    2.   Presence of Lead Counsel

   4         Lead trial counsel shall attend any scheduling, pretrial, or settlement conference

   5    set by the Court unless engaged in trial. Should that occur, counsel are to file a request for

   6    alternate or co-counsel to appear with a proposed order. The Court does not permit special

   7    appearances; only counsel of record may appear at any proceeding.

   8    3.   Ex Parte Applications

   9         Ex parte applications are solely for extraordinary relief and should be used with

   10   discretion. See Mission Power Eng’g Co. v. Cont’l Cas. Co., 883 F. Supp. 488 (C.D. Cal.

   11   1995). Ex parte applications that fail to conform to Local Rule 7-19, including a statement

   12   of opposing counsel’s position, will not be considered, except on a specific showing of

   13   good cause. Concurrently with service of the ex parte papers by electronic service and

   14   telephonic notice, counsel shall also serve the moving party by either facsimile, email, or

   15   personal service, and give notice to the moving party that opposing papers must be filed

   16   no later than 24 hours (or one court day) following service. If counsel do not intend to

   17   oppose the ex parte application, counsel must inform the Courtroom Deputy Clerk by

   18   telephone or email as soon as possible.

   19   4.   Continuances or Extensions of Time

   20        This Court is very committed to adhering to all scheduled dates. In general, this

   21   makes the judicial process more efficient and less costly. Changes in dates are disfavored.

   22   Trial dates set by the Court are firm and will rarely be changed. Therefore, any request,

   23   whether by application or stipulation, to continue the date of any matter before this Court

   24   must be supported by a sufficient basis that demonstrates good cause why the change

   25   in the date is essential. Without such compelling factual support, requests to continue

   26   dates set by this Court will not be approved. Counsel requesting a continuance must

   27   electronically file any application or stipulation with a proposed order, including a

   28   detailed declaration of the grounds for the requested continuance or extension of time.


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        The Court will not consider any request that does not comply with the Local Rules and
   2    this Order. Proposed stipulations extending scheduling dates become effective only if,

   3    and when, this Court approves the stipulation as presented to, or modified by, the Court,

   4    and an associated order is entered. Counsel should avoid submitting requests for a

   5    continuance less than at least seven (7) calendar days prior to the scheduled date that

   6    is the subject of the request.

   7         Any request or stipulation to continue shall incorporate the modified deadlines in

   8    addition to the deadlines that remain unchanged. Each proposed modification should be

   9    entered above the corresponding deadline, within the same cell as the corresponding

   10   current deadline. The modified deadline should be placed between brackets (i.e., “[Date]”).

   11   For example:

   12
   13    [March 11, 2020]                       Non-Expert Discovery Cut-Off

         Jan 1, 2019
   14
   15
   16   5.   TROs and Injunctions

   17        Parties seeking emergency or provisional relief shall comply with Fed. R. Civ. P. 65

   18   and Local Rule 65-1. The application shall include a proof of service which complies with

   19   the Court’s requirements for ex parte applications or a separate request for service to be

   20   excused. The Court will not rule on any application for such relief for at least 24 hours

   21   after the party subject to the requested order has been served, unless service is excused.

   22   Counsel shall call the Courtroom Deputy Clerk no later than 30 minutes after e-filing the

   23   documents. Additionally, on the day the documents are e-filed, counsel shall deliver a

   24   courtesy copy on the 4th Floor of the First Street Courthouse.

   25   6.   Cases Removed from State Court.

   26        All documents filed in state court, including documents appended to the complaint,

   27   answers, and motions, must be re-filed in this Court as a supplement to the notice of

   28   removal. See 28 U.S.C. § 1447(a) and (b). If the defendant has not yet answered or filed


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        a motion in response to the complaint, the answer or responsive pleading filed in this
   2    Court must comply with the Federal Rules of Civil Procedure and the Local Rules.

   3    If, before the case was removed, a motion or demurrer in response to the complaint was

   4    pending in state court, it must be re-noticed in this Court in accordance with Local Rule 6-1

   5    and Local Rule 7. Counsel shall file with their first appearance a Notice of Interested

   6    Parties in accordance with Local Rule 7.1-1.

   7         If an action is removed to this Court that contains a form pleading, i.e., a pleading in

   8    which boxes are checked, the party or parties utilizing the form pleading must file an

   9    appropriate pleading with this Court within 30 days of receipt of the Notice of Removal.

   10   The appropriate pleading referred to must comply with the requirements of Fed. R. Civ. P.

   11   7, 7.1, 8, 9, 10 and 11.

   12   7.   Status of Fictitiously Named Defendants

   13        This Court intends to adhere to the following procedures where a matter is removed

   14   to this Court on diversity grounds with fictitiously named defendants. See 28 U.S.C. §§

   15   1441 and 1447.

   16        a.   Plaintiff is expected to ascertain the identity of, and serve, any fictitiously named

   17   defendant, within 90 days of the removal of the action to this Court.

   18        b.    If plaintiff believes (by reason of the necessity for discovery or otherwise) that

   19   fictitiously named defendants cannot be fully identified within the 90-day period, an ex parte

   20   application requesting permission to extend that period to effectuate service may be filed

   21   with this Court. Such an application shall state the specific reasons for the requested

   22   extension of time, including a description of all efforts made up to that time to identify

   23   and serve such person(s). The ex parte application shall be served upon all appearing

   24   parties, and shall state that appearing parties may file written comments within seven (7)

   25   days of the filing of the ex parte application.

   26        c.   If plaintiff wants to substitute a defendant for one of the fictitiously named

   27   defendants, plaintiff shall first seek the consent of counsel for all defendants (and counsel

   28   for the fictitiously named party, if that party has separate counsel). If consent is withheld


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        or denied, plaintiff should file a motion on regular notice. The motion and opposition should
   2    address whether the matter should thereafter be remanded to the Superior Court if

   3    complete diversity of citizenship would no longer be present as a result of the addition

   4    of the new party. See U.S.C. § 1447(c) and (d).

   5    8.   Discovery

   6         a.   Discovery Matters Referred to Magistrate Judge

   7         All discovery matters, including all discovery motions, are referred to the assigned

   8    United States Magistrate Judge. The Magistrate Judge’s initials follow the District Judge’s

   9    initials next to the case number on this Order. All discovery-related documents must

   10   include the words “DISCOVERY MATTER” in the caption to ensure proper routing.

   11   Counsel are directed to contact the Magistrate Judge’s Courtroom Deputy Clerk to

   12   schedule matters for hearing. Please deliver mandatory chambers’ copies of discovery-

   13   related papers to the Magistrate Judge assigned to this case rather than to this Court.

   14        In accordance with 28 U.S.C. § 636(b)(1)(A), the Court will not reverse any order

   15   of the Magistrate Judge unless it has been shown that the Magistrate Judge’s order is

   16   clearly erroneous or contrary to law.

   17        Any party may file and serve a motion for review and reconsideration before this

   18   Court. See Local Rule 7-18. The moving party must file and serve the motion within 14

   19   days of service of a written ruling or within 14 days of an oral ruling that the Magistrate

   20   Judge states will not be followed by a written ruling. The motion must specify which

   21   portions of the ruling are clearly erroneous or contrary to law and support the contention

   22   with points and authorities. Counsel shall deliver a conformed copy of the moving papers

   23   and responses to the Magistrate Judge’s Courtroom Deputy Clerk at the time of filing.

   24        b.   Compliance with Fed. R. Civ. P. 26(a)

   25        Unless there is a likelihood that, upon motion by a party, the Court would order that

   26   any or all discovery is premature, counsel should begin to conduct discovery actively

   27   before the Scheduling Conference. Discovery is not stayed prior to the Scheduling

   28   Conference or after dates have been set unless otherwise ordered by the Court. At the


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        very least, the parties shall comply fully with the letter and spirit of Fed. R. Civ. P. 26(a)
   2    and thereby obtain and produce most of what would be produced in the early stage of

   3    discovery, because at the Scheduling Conference the Court will impose firm deadlines

   4    to complete discovery.

   5    9.   Motions

   6         a.    Time for Filing and Hearing Motions

   7         Motions shall be filed in accordance with Local Rule 6-1 and Local Rule 7. In general,

   8    this Court hears motions on Mondays, beginning at 8:30 a.m. If Monday is a national

   9    holiday, motions will be heard on the following Monday. It is not necessary to clear a

   10   hearing date with the Courtroom Deputy Clerk prior to the filing of a motion, but counsel

   11   shall review the Court’s Closed Motion Dates prior to selecting a date. Motion dates are

   12   closed when the Court’s calendar is full and, therefore, counsel shall not assume that a

   13   motion date(s) is available.

   14        The Court does not require a proposed order to be e-filed with any motion unless

   15   otherwise directed by the Court. A separate order will issue.

   16        b.    Briefing Motions

   17        Please read this section carefully. This Court’s schedule for briefing motions

   18   differs significantly from the briefing schedule set by the Local Rules.

   19        Any motion that is filed and set for a hearing to be held fewer than 35 days from the

   20   date of the filing of the motion shall be briefed pursuant to Local Rule 6-1 and Local Rule 7.

   21   Otherwise, motions shall be briefed according to the following schedule:

   22        (a). Any motion that is filed and set for a hearing between 35 and 70 days from the

   23   date of the filing of the motion: (i) any opposition must be filed no later than 14 days after

   24   the filing of the motion; and (ii) any reply must be filed no later than 21 days after the

   25   filing of the motion.

   26        (b). Any motion that is filed and set for a hearing more than 70 days from the date of

   27   the filing of the motion: (i) any opposition must be filed no later than 21 days after the filing

   28   of the motion; and (ii) any reply must be filed no later than 35 days after the filing of the


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        motion.
   2          The Court will permit the parties to stipulate, without a court order, to a briefing

   3    schedule for any motion that is set for a hearing to be held more than 70 days from the

   4    hearing date it was filed so long as the reply is filed no later than five (5) weeks prior to

   5    the hearing date. A stipulation regarding the agreed-upon briefing schedule shall be filed

   6    with the Court within seven (7) calendar days from the date the motion is filed. The

   7    stipulation shall include in the caption “STIPULATED PER STANDING ORDER.”

   8          c.   Pre-Filing Requirement To Meet and Confer

   9          Counsel must comply with Local Rule 7-3, which requires counsel to engage in a

   10   pre-filing conference “to discuss thoroughly . . . the substance of the contemplated motion

   11   and any potential resolution.” Counsel should discuss the issues to a sufficient degree

   12   that if a motion is still necessary, the briefing may be directed to those substantive

   13   issues requiring resolution by the Court. Counsel should resolve minor procedural or

   14   other non-substantive matters during the conference. The in propria persona status of

   15   one or more parties does not alter this requirement.

   16         d.   Length and Format of Motion Papers

   17         Memoranda of points and authorities shall not exceed 25 pages and all footnotes

   18   shall be in the same type size pursuant to Local Rule 11-3. Oppositions shall not exceed

   19   25 pages and any reply shall not exceed 10 pages. All motion papers shall be filed

   20   pursuant to Local Rule 11-3 and Local Rule 11-6. Only in rare instances and for good

   21   cause shown will the Court grant an application to extend these page limitations. No

   22   supplemental brief shall be filed without prior leave of Court.

   23         If documentary evidence in support of or in opposition to a motion or application

   24   exceeds 100 pages, the documents shall be placed in a binder, with an index and with

   25   each item of evidence separated by a tab divider. If such evidence exceeds 200 pages,

   26   the documents shall be placed in a Slant D-Ring binder, with an index and with each

   27   item of evidence separated by a tab divider.

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             Counsel shall adhere to Local Rule 5-4.3 with respect to the conversion of all
   2    documents to a PDF so that when a document is e-filed, it is in the proper size and

   3    format that is PDF searchable. Further, all documents shall be filed in a format so that

   4    text can be selected, copied, and pasted directly from the document.

   5         e.      Mandatory Chambers’ Copies

   6         Mandatory chambers’ copies are to be submitted pursuant to Local Rule 5-4.5.

   7    The Court requires copies of only: (i) initial pleadings (complaints, counterclaims, cross-

   8    claims), (ii) Joint Rule 16(b)/26(f) reports with schedule of pretrial and trial dates,

   9    (iii) motion papers (motions, oppositions, replies, non-oppositions, and any document

   10   relating to such), (iv) trial documents (joint statement of the case, proposed voir dire,

   11   jury instructions, verdict form, joint exhibit list, joint witness list, and any disputes relating

   12   to such), (v) ex parte applications relating to a temporary restraining order, and (vi)

   13   presentation materials for patent cases. Mandatory chambers’ copies must be delivered

   14   to the Clerk’s Office, located in the First Street Courthouse, no later than 12:00 P.M. on

   15   the day following the filing of the document, with the exception of a document(s) relating

   16   to atemporary restraining order, which is to be submitted the day it is filed. See infra,

   17   11, p. 18.

   18        Mandatory chambers’ copies must be printed from CM/ECF, and must include the

   19   CM/ECF-generated header (consisting of the case number, document control number,

   20   date of filing, page number, etc.). Any stapling or binding should not obscure the

   21   CM/ECF-generated header. The Court prefers that chambers’ copies not be two-hole

   22   punched or blue-backed; when possible, staple each copy only in the upper left hand

   23   corner.

   24        f.      Citations to Case Law

   25        Citations to case law must identify not only the case cited, but the specific page

   26   referenced. For example, if a quotation is presented, the associated page citation shall be

   27   provided. Similarly, if a case is cited in support of a proposition based on language in the

   28   opinion, the page(s) on which such language appears shall be provided. Bluebook style


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        is preferred.
   2          g.   Citations to Other Sources

   3          Statutory references should identify with specificity the sections and subsections

   4    referenced. Citations to treatises, manuals, and other materials should include the volume,

   5    section, and pages that are referenced. Citations to prior filings in the same matter shall

   6    include the docket entry number, section, and pages that are referenced. Bluebook style

   7    is preferred.

   8          h.   Oral Argument

   9          If the Court deems a matter appropriate for decision without oral argument, the Court

   10   will notify the parties in advance. Local Rule 7-15.

   11   10.   Specific Motions

   12         a.   Motions Pursuant to Rule 12

   13         Many motions to dismiss or to strike can be avoided if the parties confer in good faith

   14   (as required by Local Rule 7-3), especially where perceived defects in a complaint, answer,

   15   or counterclaim could be corrected by amendment. See Chang v. Chen, 80 F.3d 1293,

   16   1296 (9th Cir. 1996) (where a motion to dismiss is granted, a district court should provide

   17   leave to amend unless it is clear that the complaint could not be saved by any amendment).

   18   These principles require that plaintiff’s counsel carefully evaluate defendant’s contentions

   19   as to the deficiencies in the complaint. In most instances, the moving party should agree

   20   to any amendment that would cure the defect.

   21         If a motion to dismiss is granted with leave to amend, counsel shall attach as an

   22   appendix to an amended pleading a “redline” version of the amended pleading showing

   23   all additions and deletions of material.

   24         b.   Motions to Amend

   25         All motions to amend pleadings shall: (1) state the effect of the amendment and

   26   (2) identify the page and line number(s) and wording of any proposed change or addition

   27   of material. The proposed amended pleading shall be serially numbered to differentiate

   28   it from previously amended pleadings.


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              In addition to the requirements of Local Rule 15, counsel shall attach as an appendix
   2    to the moving papers a “redline” version of the proposed amended pleading showing all

   3    additions and deletions of material.

   4          c.   Summary Judgment Motions

   5          Parties need not wait until the motion cut-off date to bring a motion(s) for summary

   6    judgment or partial summary judgment. Whenever possible, the party moving for summary

   7    judgment should provide more than the minimum twenty-eight (28) day notice for motions.

   8    See Local Rule 6-1. The parties should prepare papers in a fashion that will assist the

   9    Court in locating the evidence with respect to the facts (e.g., generous use of tabs, tables

   10   of contents, headings, indices, etc.). The parties are to comply precisely with Local Rule 56.

   11              i.   Statements of Uncontroverted Facts and Genuine Issues

   12         The Statement of Uncontroverted Facts and Conclusions of Law (“Statement of

   13   Uncontroverted Facts”), as required by Local Rule 56-1, shall be separately lodged and

   14   identify each claim for relief on which the moving party seeks summary judgment and

   15   the legal grounds for summary judgment. In a two-column format beneath the identified

   16   claim for relief, the left-hand column shall set forth, sequentially numbered, each allegedly

   17   uncontroverted material fact as to that claim for relief, and the right-hand column shall set

   18   forth the evidence that supports the factual statement. Citation to the supporting evidence

   19   shall be specific, including reference to the docket number, exhibit, page, and line number.

   20   The Statement of Uncontroverted Facts shall be formatted based on the following

   21   examples:

   22   Plaintiff’s Claim for Relief for _________ is Barred by the Applicable Statute of

   23   Limitations. (Cite)

   24    1. (Moving party’s first undisputed fact)        (Supporting evidence citation, e.g., Dkt.
                                                          50, Exh. 5 at 7:3-5)
   25
         2. (Moving party’s second undisputed fact)       (Supporting evidence citation, e.g., Dkt.
   26                                                     51-5, Exh. 5 at 8:4-5)
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   28   \\\

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              Chambers’ copies of the Statement of Uncontroverted Facts and Conclusions of Law
   2    shall be submitted in a binder, which is separated from the evidence in support of a motion

   3    for summary judgment. Counsel shall include tab dividers which separate the statements

   4    of uncontroverted facts in support of each claim for relief.

   5          The opposing party’s Statement of Genuine Disputes of Material Fact must be in two

   6    columns and track the movant’s separate statement exactly as prepared. The left-hand

   7    column must restate the allegedly undisputed fact and the alleged supporting evidence,

   8    and the right-hand column must state either that it is undisputed or disputed. The opposing

   9    party may dispute all or only a portion of the statement, but if disputing only a portion, such

   10   party must clearly indicate what part is being disputed, followed by the opposing party’s

   11   evidence controverting the fact. To demonstrate that a fact is disputed, the opposing party

   12   must briefly state why it disputes the moving party’s asserted fact, cite to the relevant

   13   exhibit or other evidence, and describe what it is in that exhibit or evidence that refutes the

   14   asserted fact. No legal argument should be set forth in this document.

   15         Chambers’ copies of the opposing party’s Statement of Genuine Disputes must also

   16   be submitted in a binder, which is separated from the evidence in opposition to a motion

   17   for summary judgment. Counsel shall include tab dividers which separate the Statement

   18   of Genuine Disputes as to each claim for relief.

   19         The opposing party may submit additional material facts that bear on, or relate to,

   20   the issues raised by the movant, which shall follow the format described above for the

   21   moving party’s separate statement. These additional facts shall continue in sequentially

   22   numbered paragraphs and shall set forth in the right-hand column the evidence that

   23   supports that statement. Additional material facts shall be filed in a separate document

   24   from the Statement of Genuine Disputes. Chambers’ copies of the opposing party’s

   25   additional material facts must be filed in a separate binder from the Statement of Genuine

   26   Disputes. Counsel shall include tab dividers which separate the additional material facts

   27   as to each claim for relief.

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                  ii.    Supporting Evidence
   2         No party shall submit evidence other than the specific items of evidence or testimony

   3    necessary to support or controvert a proposed statement of undisputed fact. For example,

   4    entire deposition transcripts, entire sets of interrogatory responses, and documents that

   5    do not specifically support or controvert material in the separate statement shall not be

   6    submitted in support of or opposition to a motion for summary judgment.

   7         Evidence submitted in support of, or in opposition to, a motion should be submitted

   8    either by way of stipulation or as exhibits to declarations sufficient to authenticate the

   9    proffered evidence, and should not be attached to the memorandum of points and

   10   authorities. Documentary evidence as to which there is no stipulation regarding foundation

   11   must be accompanied by the testimony, either by declaration or properly authenticated

   12   deposition transcript, of a witness who can establish authenticity.

   13        The parties shall ensure that electronically filed copies of evidence in support of,

   14   or in opposition to, a motion for summary judgment are in the proper format. Thus, all

   15   documents must be PDF searchable and have selectable text that may be copied and

   16   pasted directly from the filed document. All chambers’ copies shall be filed in accordance

   17   with ¶ 9(d) of this Order. All chambers’ copies and electronically filed documents must

   18   include the CM/ECF-generated header (consisting of the case number, document control

   19   number, date of filing, page number, etc.).

   20        Additionally, testimony cited in a statement of uncontroverted facts, statement of

   21   genuine material facts, or additional material facts shall be highlighted and/or underlined

   22   in both the electronically filed copy on CM/ECF and in the chambers’ copies.

   23             iii.   Objections to Evidence

   24        Evidentiary objections to a declaration submitted in connection with a motion or other

   25   matter shall be made in writing and served and e-filed at the same time as, but separately,

   26   from the opposition or reply papers. If a party disputes a fact based in whole or in part of

   27   an evidentiary objection, the ground of the objection should be succinctly stated in a

   28   separate statement of evidentiary objections in a three-column format:


                                                      14
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                           a. The left column should include the entire declaration or deposition,
   2    which shall include the highlighted, underlined, and/or bracketed portions that are being

   3    objected to (including page and line number, if applicable). Each objection shall be

   4    numbered and located within the copy of the declaration.

   5                       b. The middle column should set forth a concise objection (e.g., hearsay,

   6    lacks foundation, etc.) with a citation to the Federal Rules of Evidence or, where applicable,

   7    a case citation.

   8                       c. The right column should provide space for the Court’s entry of its ruling

   9    on the objection.

   10                      d. A proposed order shall be filed and attached to the evidentiary

   11   objections as a separate document consistent with Local Rule 52-4.1 and either uploaded

   12   through the CM/ECF System or emailed directly to the Court’s Chambers’ email at:

   13   jak_chambers@cacd.uscourts.gov.

   14        See Exhibit F to this Order. Counsel shall adhere to this format for any evidentiary

   15   objections that are submitted to the Court for consideration.

   16        d.   Motions in Limine

   17        Motions in limine are heard at the date and time of the Final Pretrial Conference

   18   and shall be e-filed fourteen (14) calendar days before the Final Pretrial Conference.

   19   The motions shall be prepared and filed consistent with Local Rule 6-1 and Local Rule 7

   20   shall be numbered sequentially by each party who presents them. The supporting

   21   memorandum shall not exceed ten (10) pages. Any opposition(s) shall be e-filed seven

   22   (7) days before the Final Pretrial Conference and shall not exceed 10 pages. The Court

   23   will permit oral argument on motions in limine and, therefore, a reply is not required.

   24   The Court hears all motions in limine, which shall be numbered sequentially by each party

   25   who presents them, at the time of the Final Pretrial Conference.

   26        e.   Motions for Attorney’s Fees

   27        Motions for attorney’s fees shall be e-filed and set for hearing according to Local

   28   Rule 6-1 and this Order. Any motion or request for attorney’s fees shall attach two


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        summaries, in table form, of the hours worked by and billing rate of each attorney with
   2    title (i.e., partner, local counsel, associate, etc.).

   3          The first table shall include a summary of the hours worked by each attorney,

   4    organized by task (i.e., discovery, motion to dismiss, motion for summary judgment). If

   5    the hourly rate charged by any individual attorney changed while the case was ongoing,

   6    the party shall provide separate calculations for the total number of hours that the attorney

   7    spent in connection with each task at each hourly rate.

   8          The second table shall include a summary of the hours worked by each attorney,

   9    organized by attorney. This table shall list all of the tasks on which the attorney worked,

   10   the hours worked on each task, and the hourly rate of each attorney.

   11         Any table as set forth above shall be attached to the motion and electronically filed.

   12   The courtesy copy of the table shall be emailed to the Court’s Chambers’ email at:

   13   jak_chambers@cacd.uscourts.gov, which shall be prepared in Microsoft Excel and have

   14   all restrictions removed so that the spreadsheet can be edited. See Exhibit G.

   15              i.   Motions for Preliminary and Final Approval of Class Action

   16                   Settlement

   17         Parties submitting a motion for preliminary or final approval of a class settlement

   18   shall include a spreadsheet supporting any proposed award of attorney’s fees.

   19   The spreadsheet shall include an estimate of any future attorney’s fees for which

   20   compensation will be sought, the normal hourly rate of all counsel for whom entries

   21   appear on the spreadsheet, the support for such hourly rate(s), and an explanation

   22   of the basis of any service enhancement award for lead plaintiff(s), including the hours

   23   worked and activities performed by such lead plaintiff(s). An editable, electronic courtesy

   24   copy shall be prepared in Microsoft Excel and emailed to the Court’s Chambers’ email at:

   25   jak_chambers@cacd.uscourts.gov formatted for use with Microsoft Excel. See Exhibit G.

   26   11.   Under Seal Documents

   27         Counsel shall comply with Local Rule 79-5. All applications must provide the

   28   reason(s) why the parties’ interest in maintaining the confidentiality of the document(s)


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         outweighs the public’s right of access to materials submitted in connection with a judicial
    2    proceeding. Counsel are ordered to meet and confer in person or by telephone at least

    3    seven (7) calendar days prior to the filing of an application in which the basis for the

    4    requested sealing is stated to determine if they can agree on the proposed under seal

    5    filing. Not later than two (2) calendar days after the meet and confer process has

    6    concluded, the non-proposing party shall confirm whether it agrees to having such

    7    information designated as confidential or whether it opposes an under seal filing. Any

    8    application for under seal filing, whether or not opposed, shall contain the dates and

    9    method by which the parties met and conferred. If such information is not provided, the

    10   application will be denied without prejudice to an amended application being filed that

    11   complies with the foregoing terms.

    12        E-filing Applications for Leave to File Under Seal

    13        1.     The application for leave to file under seal shall be filed on the public docket

    14               and shall attach a proposed order pursuant to Local Rule 5-4.4.1 and Local

    15               Rule 5-4.4.2. Any declaration that supports the application shall also be

    16               attached to the application unless it contains confidential information. The

    17               declaration shall be filed under seal as its own docket entry if it contains

    18               confidential information.

    19        2.     The unredacted version of any document(s) shall be filed under seal. It may

    20               be attached to the declaration that supports the application, if the declaration

    21               is sealed and is filed as its own docket entry. Otherwise, it shall be filed as its

    22               own docket entry. The title shall include “Unredacted” or “Sealed” as the first

    23               word of the title of the document. Any sealed document must clearly mark the

    24               information that is confidential or privileged via highlighting in color and/or

    25               using brackets.

    26        3.     The Court will review the submitted documents and make a determination as

    27               to whether the document(s) can be sealed and filed on the docket. If the

    28               application is granted, counsel shall file:


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                     (i)     The unredacted version of the entire document as its own docket
    2                        entry. The title shall include “Unredacted” or “Sealed” as the first

    3                        word of the title of the document. Any information that has been

    4                        redacted or omitted from the public filing must be clearly marked

    5                        via highlighting in color and/or using brackets.

    6                (ii)    The redacted version of the entire document as its own docket

    7                        entry. Unless otherwise stated in the order granting the application,

    8                        a redacted version is required of all sealed documents. The title

    9                        shall include “Redacted” as the first word of the title of the document.

    10                       Any information that is confidential or privileged must be blacked

    11                       out or a page shall be inserted with the title of the document that

    12                       indicates that the entire document is sealed.

    13                       (a) Closely related materials filed at the same time where some are

    14                           proposed to be filed under seal and others will not be sealed

    15                           shall be considered as a single document and filed as a single

    16                           docket entry containing multiple attachments. For example, if

    17                           certain exhibits to a declaration are to be filed under seal, even

    18                           if other exhibits or the declaration are not, the entire document

    19                           for which permission to seal should be sought is the declaration

    20                           and all exhibits. The docket shall therefore include:

    21                              • one unredacted/sealed docket entry with the documents

    22                                to include the declaration with all exhibits, including sealed

    23                                exhibits, efiled as an attachment to the declaration;

    24                              • a separate redacted docket entry with the documents to

    25                                include the declaration with all exhibits, including redacted

    26                                exhibits, efiled as an attachment to the declaration.

    27               (iii)   A courtesy copy shall be delivered of the sealed document(s) only,

    28                       both at the time that they are submitted as proposed documents to


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                               be sealed in connection with the application and after the
   2                           application is granted. No courtesy copy is necessary of the

   3                           application, proposed order, or any redacted document(s).

   4    12.   Initial Pleadings

   5          Counsel shall comply with Local Rule 3 when filing initial pleadings. All initiating

   6    pleadings, including third-party complaints, amended complaints, complaints in

   7    intervention, counterclaims, and cross claims, shall be filed as a separate document.

   8    None shall be combined with an answer.

   9    13. Amended Pleadings

   10         Every amended pleading shall be serially numbered to differentiate the pleading

   11   from prior pleadings, e.g., First Amended Complaint, Second Amended Counterclaim,

   12   Third Amended Cross Claim, etc. Counsel shall attach as an appendix to all amended

   13   pleadings a “redline” version of the amended pleading showing all additions and

   14   deletions of material from the most recent prior pleading.

   15   14. Pro Se/Self-Represented Parties

   16         Pro se/Self-represented parties may continue to present all documents to the Clerk

   17   for filing in paper format pursuant to Local Rule 5-4.2. However, the Court will also permit

   18   self-represented parties to present all documents to the Clerk for filing by email so long as

   19   they comply with the following requirements:

   20         (a)   The document shall be prepared so that it complies with the requirements set

   21   forth in Local Rule 11-3, i.e., legibility, font, paper, pagination, spacing, title page, page

   22   limits, etc. Additionally, the document shall also comply with any requirements specific to

   23   the type of document that is being submitted for filing, i.e., motions need to also adhere to

   24   Local Rule 6-1 and Local Rule 7 as set forth in ¶ 9 of this Order.

   25         (b)   The document shall be emailed as a PDF document to the Chambers’ email:

   26   jak_chambers@cacd.uscourts.gov no later than the date it is due. The Court will deem

   27   the date the document is emailed as the filed or lodged date. The proceeding line of

   28   the email shall contain: (i) the case number; (ii) case name; and (iii) “Pro Se Filing” to


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        ensure it will be filed/lodged properly.
   2         (c)   The Chambers’ email will be used solely to accept documents for filing. The

   3    Chambers’ email is not to be used in any way to communicate with the Judge or Clerk.

   4    All parties, including Pro se/Self-represented parties, shall refrain from writing letters to

   5    the Court, sending e-mail messages, making telephone calls to chambers, or otherwise

   6    communicating with the Court unless opposing counsel is present. All matters must be

   7    called to the Court’s attention by appropriate application or motion pursuant to Local

   8    Rule 83-2.5.

   9         (d)   A courtesy copy of the document shall be mailed to the Court no later than

   10   12:00 p.m. on the day following the date it was emailed as set forth in ¶ 9(e) of this Order.

   11        (e)   It is the Court’s expectation that Pro se/Self-represented parties are to comply

   12   with the Local Rules and the rules set by this Court. The Court has a Pro Se Clinic

   13   available to assist those persons who do not have an attorney to represent them. Clinics

   14   are located in Los Angeles, Riverside, and Santa Ana. More information can be obtained

   15   on the Court’s website located at http://prose.cacd.uscourts.gov/. The Los Angeles Clinic

   16   operates by appointment only. You may schedule an appointment either by calling the

   17   Clinic or by using an internet portal. You can call the Clinic at (213) 385-2977, ext. 270

   18   or you can submit an internet request at the following site: http://prose.cacd.uscourts.gov/

   19   los-angeles. Clinic staff can respond to many questions with a telephonic appointment

   20   or through your email account. It may be more convenient to email your questions or

   21   schedule a telephonic appointment. Staff can also schedule you for an in-person

   22   appointment at their location in the Roybal Federal Building and Courthouse, 255 East

   23   Temple Street, Suite 170, Los Angeles, California 90012.

   24   15. Notice of This Order/E-Filed Documents

   25        Plaintiff’s counsel or plaintiff (if appearing on his or her own behalf) shall immediately

   26   serve this Order on all parties, including any new parties to the action. If this case came

   27   to the Court by a Petition for Removal, the removing defendant(s) shall serve this Order

   28   on all other parties.


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             Any document that is e-filed shall be served by mail that same day on any party or
   2    attorney who is not permitted or has not consented to electronic service, with a proof of

   3    service to be filed within 24 hours.

   4    IT IS SO ORDERED.

   5
                                                             JOHN A. KRONSTADT
   6                                                         UNITED STATES DISTRICT JUDGE

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Case 2:20-cv-03852-JAK-AGR Document 10 Filed 04/30/20 Page 22 of 81 Page ID #:46
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                                       EXHIBIT B
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            INITIAL STANDING ORDER FOR PATENT CASES ASSIGNED TO JUDGE JOHN A.
   3                                 KRONSTADT

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   9                                UNITED STATES DISTRICT COURT

                                   CENTRAL DISTRICT OF CALIFORNIA
   10
   11 Plaintiff’s Name(s),                          Case No.:                        JAK ( x)

                          Plaintiff(s),
   12                                                INITIAL PATENT ORDER FOR CASES
               vs.                                   ASSIGNED TO JUDGE JOHN A.
   13                                                KRONSTADT
        Defendant’s Name(s),
   14                    Defendant(s).
   15
   16
   17    These Standing Patent Rules are based on the Standing Patent Rules issued by Judge

   18    Andrew J. Guilford in September 2013, which were based largely on information obtained

   19    from over 100 patent practitioners and professors, a review of all the other local patent

   20    rules and a review of related literature. The rules were drafted to respond to the needs of

   21    this community and to reduce transaction costs and increase procedural predictability.

   22    Two central goals were that the rules be outcome neutral and as concise as possible.

   23    1.      GENERAL PROVISIONS

   24    1.1     Title

   25    These are the Standing Patent Rules for cases assigned to Judge John A. Kronstadt.

   26    They should be cited as “S.P.R.     .”

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        1.2    Effective Date
   2    These Standing Patent Rules take effect on April 1, 2014, and apply in cases filed on or

   3    after that date. The Court may order that they also apply, with appropriate modification,

   4    to cases filed before that date.

   5    1.3    Scope and Construction

   6    These rules apply to all cases involving a claim of infringement, non-infringement,

   7    invalidity or unenforceability of a utility patent. The Local Rules of this District shall also

   8    apply to such actions, except to the extent that they are inconsistent with these Standing

   9    Patent Rules. The Court will consider requests to opt out of these Standing Patent Rules,

   10   particularly when all parties agree the case involves damages or other claims of less than

   11   $2 million.

   12   1.4    Modification of These Rules

   13   The Court may modify or suspend these rules at any time. The Court will consider

   14   modifications to these rules suggested by the parties based on the circumstances of any

   15   particular case. Such party-suggested modifications shall, in most cases, be made at the

   16   scheduling conference, but may be made at other times upon a showing of good cause.

   17   1.5    Confidentiality

   18   Absent a Court order, discovery cannot be withheld on the basis of confidentiality.

   19   The Court’s Standing Protective Order shall govern discovery unless the Court enters a

   20   different protective order, which may be entered by the assigned Magistrate Judge without

   21   further order from the District Judge.

   22   1.6    Relationship to the Federal Rules of Civil Procedure

   23   Except as provided in this paragraph or otherwise ordered, it shall not be a ground for

   24   objecting to discovery requests (such as interrogatories, document requests, requests for

   25   admission or deposition questions), or declining to provide information otherwise required

   26   by Fed. R. Civ. P. 26(a)(1), that the discovery request or disclosure requirement is

   27   premature due to, or otherwise conflicts with, these Standing Patent Rules. But a party

   28   may object to the following categories of discovery requests (or decline to provide


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         information in its initial disclosures under Fed. R. Civ. P. 26(a)(1)) on the ground of
    2    prematurity under these Standing Patent Rules: (1) requests seeking a party’s claim

    3    construction position; (2) requests seeking from the patent claimant a comparison of the

    4    asserted claims and the accused apparatus, product, device, process, method, act or

    5    other instrumentality (collectively “Accused Instrumentality”); (3) requests seeking from

    6    an accused infringer a comparison of the asserted claims and the prior art; (4) requests

    7    seeking from an accused infringer the identification of any advice of counsel or related

    8    documents.

    9    2.     PATENT DISCLOSURES, EARLY MEETING OF THE PARTIES, AND

    10          SCHEDULING CONFERENCE

    11   2.1    Disclosure of Asserted Claims and Infringement Contentions

    12   No later than 14 days after the Court issues an order setting a scheduling conference,

    13   a party asserting patent infringement shall serve on all parties a Disclosure of Asserted

    14   Claims and Infringement Contentions. Separately for each opposing party, the Disclosure

    15   of Asserted Claims and Infringement Contentions shall contain the following information

    16   as described in S.P.R. 2.1.1 through 2.1.6.

    17          2.1.1 Each claim of each patent in suit that is allegedly infringed by each

    18          opposing party, including for each claim the applicable statutory subsections

    19          of 35 U.S.C. § 271 asserted.

    20          2.1.2 Separately for each asserted claim, each Accused Instrumentality. This

    21          identification shall be as specific as reasonably possible.

    22          2.1.3 A chart identifying specifically where each limitation of each asserted claim

    23          is found within each Accused Instrumentality, including, for each limitation that

    24          such party contends is governed by 35 U.S.C. § 112(6)/(f), the identity of the

    25          structure(s), act(s), or material(s) in the Accused Instrumentality that performs the

    26          claimed function, and whether each limitation of each asserted claim is alleged to

    27          be literally present or present under the doctrine of equivalents in the Accused

    28          Instrumentality.


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               2.1.4 For any patent that claims priority to an earlier application, the priority date
   2           allegedly applicable to each asserted claim.

   3           2.1.5 If a party claiming patent infringement wishes to preserve the right to rely,

   4           for any purpose, on the assertion that its own apparatus, product, device, process,

   5           method, act or other instrumentality practices the claimed invention, the party shall

   6           identify, separately for each asserted claim, each such apparatus, product, device,

   7           process, method, act or other instrumentality that incorporates or reflects that

   8           particular claim.

   9           2.1.6 If a party claiming patent infringement alleges willful infringement, the basis

   10          for such allegation.

   11   2.2    Document Production Accompanying Disclosure

   12   With the Disclosure of Asserted Claims and Infringement Contentions, the party claiming

   13   patent infringement shall produce the following items described as set forth in S.P.R. 2.2.1

   14   through 2.2.3, identifying the documents corresponding to each category by production

   15   number.

   16          2.2.1 A copy of the file history for each patent in suit.

   17          2.2.2 All documents evidencing ownership of the patent rights by the party

   18          asserting patent infringement.

   19          2.2.3 If a party identifies instrumentalities under S.P.R. 2.1.5, documents sufficient

   20          to show the operation of any aspects or elements of such instrumentalities the

   21          patent claimant relies upon as embodying any asserted claims.

   22   2.3    Early Meeting of Counsel

   23   No later than 14 days after the service of the materials required by S.P.R. 2.1 and 2.2,

   24   counsel for the parties shall exchange Fed. R. Civ. P. 26(a)(1)(A) initial disclosures and

   25   meet in person or telephonically to prepare for the scheduling conference and prepare

   26   the joint Fed. R. Civ. P. 16(b)/26(f) report. Both sides have the duty to schedule the

   27   meeting and comply with this paragraph, with plaintiff initiating the process. The parties

   28   should consider, where applicable, consolidation of related cases, including for trial, and


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         transfer for pretrial purposes through the Judicial Panel on Multidistrict Litigation. The
    2    parties should consider the Federal Circuit Advisory Committee’s Model Order Limiting

    3    Excess Patent Claims and Prior Art. The parties should discuss ADR timing, recognizing

    4    that settlement decisions, like other business decisions, are often made with incomplete

    5    information. Where necessary in multi-defendant cases and upon a showing of good

    6    cause, counsel may apply for a reasonable extension of time to hold the early meeting

    7    of counsel. The parties shall submit their joint Fed. R. Civ. P. Rule 16(b)/26(f) report no

    8    later than 14 days after the early meeting of counsel. See Exh. C-1.

    9    2.4    Scheduling Conference

    10   A scheduling order will be issued by the Court. The parties will be required to file a

    11   Joint Rule 16(b)/26(f) Report. Upon review of the Report, the Court will either issue a

    12   scheduling order or set the matter for a hearing. If a hearing is necessary, each side

    13   will have the opportunity to present briefly any potentially dispositive issues it wishes to

    14   bring to the Court’s attention and to discuss its position on disputed scheduling issues.

    15   The presentations are intended to allow the Court to make informed decisions on

    16   scheduling and potential modifications of these rules. At the scheduling conference,

    17   the Court will issue a scheduling order.

    18   2.5    Invalidity Contentions

    19   No later than 14 days after the scheduling conference, each party opposing a claim of

    20   patent infringement shall serve on all parties Invalidity Contentions containing the following

    21   information as described in S.P.R. 2.5.1 through 2.5.4.

    22          2.5.1 The identity of each item of prior art that allegedly anticipates each asserted

    23   claim or renders it obvious. Each prior art patent shall be identified by its number, country

    24   of origin and date of issue. Each prior art publication shall be identified by its title, date of

    25   publication, author and publisher. Prior art under 35 U.S.C. § 102(b)/(a) shall be identified

    26   by specifying the item offered for sale or publicly used or known, the date the offer or use

    27   took place or the information became known, and the identity of the person or entity which

    28   made the use or which made and received the offer, or the person or entity which made


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         the information known or to whom it was made known. Prior art under 35 U.S.C. § 102(f),
    2    or other claim of derivation, shall be identified by providing the name of the person(s)

    3    from whom and the circumstances under which the invention or any part of it was derived.

    4    Prior art under 35 U.S.C. § 102(g) shall be identified by providing the identities of the

    5    person(s) or entities involved in and the circumstances surrounding the making of the

    6    invention before the patent applicant(s).

    7           2.5.2 Whether each item of prior art anticipates each asserted claim or renders it

    8           obvious. If obviousness is alleged, an explanation of why the prior art renders the

    9           asserted claim obvious, including an identification of any combinations of prior art

    10          showing obviousness.

    11          2.5.3 A chart identifying where specifically in each alleged item of prior art

    12          each limitation of each asserted claim is found, including for each limitation that

    13          such party contends is governed by 35 U.S.C. § 112(6)/(f), the identity of the

    14          structure(s), act(s) or material(s) in each item of prior art that performs the

    15          claimed function.

    16          2.5.4 Any grounds of invalidity based on 35 U.S.C. § 101, indefiniteness under

    17          35 U.S.C. § 112(2)/(b), or enablement or written description under 35 U.S.C.

    18          § 112(1)/(a) of any of the asserted claims.

    19   2.6    Document Production Accompanying Invalidity Contentions

    20   With the Invalidity Contentions, the party opposing a claim of patent infringement shall

    21   produce the items described as follows in S.P.R. 2.6.1 through 2.6.2, identifying the

    22   documents corresponding to each category by production number.

    23          2.6.1 Source code, specifications, schematics, flow charts, artwork, formulas or

    24          other documentation sufficient to show the operation of any aspects or elements

    25          of an Accused Instrumentality identified by the patent claimant’s S.P.R. 2.1.3 chart.

    26          2.6.2 A copy or sample of the prior art identified under S.P.R. 2.5.1 that does not

    27          appear in the file history of the patent(s) at issue. To the extent any such item is

    28          not in English, an English translation of the portion relied upon shall be produced.


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        2.7    Disclosure Requirement in Patent Cases for Declaratory Judgment of
   2           Invalidity Where No Claim of Infringement Has Been Made

   3    In all cases where a party files a complaint or other pleading seeking a declaratory

   4    judgment that a patent is invalid, S.P.R. 2.1 and 2.2 shall not apply unless and until a

   5    claim for patent infringement is made, and the party asserting patent infringement shall

   6    have 28 days (instead of 14 days) after the order setting the scheduling conference to

   7    make its disclosures pursuant to S.P.R. 2.1 and 2.2. If the defendant does not assert a

   8    claim for patent infringement in its answer to the complaint, the party seeking a declaratory

   9    judgment of invalidity shall serve upon each opposing party its S.P.R. 2.5 and 2.6

   10   disclosures no later than 14 days after the order setting the scheduling conference.

   11   3.     CLAIM CONSTRUCTION

   12   3.1    Exchange of Proposed Terms for Construction

   13   No later than 14 days after the S.P.R. 2.5 and 2.6 disclosures, each party shall serve

   14   on each other party a list of claim terms the party contends should be construed by the

   15   Court, and identify any claim term the party contends should be governed by 35 U.S.C.

   16   § 112(6)/(f). The parties shall then work to limit the terms in dispute by narrowing

   17   or resolving differences, and to jointly identify the 10 terms likely to be most significant

   18   to the case.

   19   3.2    Exchange of Claim Constructions and Extrinsic Evidence

   20   No later than 14 days after the exchange of the S.P.R. 3.1 lists, the parties shall

   21   simultaneously exchange proposed constructions of each term identified by either party

   22   for claim construction. Each such construction shall also, for each term that any party

   23   contends is governed by 35 U.S.C. § 112(6)/(f), identify the structure(s), act(s) or

   24   material(s) corresponding to that term’s function. At the same time the parties exchange

   25   their constructions, each party shall also identify all references from the specification or

   26   prosecution history that support its proposed construction and designate any supporting

   27   extrinsic evidence including, without limitation, dictionary definitions, citations to learned

   28   treatises and prior art, and testimony of percipient and expert witnesses. Extrinsic


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         evidence shall be identified by production number and by producing a copy if not
    2    previously produced. For any supporting witness, percipient or expert, the identifying

    3    party shall also provide a declaration containing that witness’ testimony regarding claim

    4    construction. The parties shall then meet and confer to narrow the issues and finalize

    5    preparation of a Joint Claim Construction and Prehearing Statement.

    6    3.3    Completion of Claim Construction Discovery

    7    No later than 28 days after service of the material required by S.P.R. 3.2, the parties shall

    8    complete all discovery desired for claim construction, including any depositions of fact and

    9    expert witnesses regarding claim construction.

    10   3.4    Joint Claim Construction and Prehearing Statement

    11   No later than seven days after the completion of claim construction discovery, the parties

    12   shall complete and file a Joint Claim Construction and Prehearing Statement. The Joint

    13   Claim Construction and Prehearing Statement shall contain the information described

    14   as follows in S.P.R. 3.4.1 through 3.4.5.

    15          3.4.1 The parties’ agreed constructions.

    16          3.4.2 A chart showing each party’s proposed construction of each disputed term,

    17          together with an identification of all references from the specification or prosecution

    18          history that support that construction, and an identification of any extrinsic

    19          evidence supporting its proposed construction or undermining any other party’s

    20          proposed construction, including, but not limited to, dictionary definitions, citations

    21          to learned treatises and prior art, and testimony of percipient and expert witnesses.

    22          3.4.3 An identification of up to 10 terms whose construction will be most significant

    23          to the case. If the parties cannot agree on the 10 most significant terms, the parties

    24          shall identify the ones they agree are most significant and then they may evenly

    25          divide the remainder. While the Court may in its discretion construe more than 10

    26          terms, the total terms identified by all parties as most significant cannot exceed

    27          10. For example, in a case involving two parties, if the parties agree upon the

    28          identification of five terms as most significant, each may only identify two


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               additional terms as most significant. A failure to make a good faith effort to narrow
   2           the instances of disputed terms or otherwise participate in the meet and confer

   3           process of any of the provisions in S.P.R. 3 may expose counsel to sanctions,

   4           including under 28 U.S.C. § 1927.

   5           3.4.4 Whether the party believes it will need more than 45 minutes total for all its

   6           presentation at the claim construction hearing, and if so, how much time, and why

   7           more time is necessary.

   8           3.4.5 Whether any party proposes to call one or more witnesses at the claim

   9           construction hearing, the identity of each such witness, and for each witness, a

   10          summary of the testimony including, for any expert, each opinion to be offered on

   11          claim construction.

   12   3.5    Claim Construction Briefs

   13   No later than seven days after they file the Joint Claim Construction and Prehearing

   14   Statement, the parties shall file simultaneous opening claim construction briefs of not

   15   more than 25 pages. Not later than 14 days after the opening briefs, the parties shall file

   16   simultaneous responsive briefs of not more than 10 pages. With its responsive brief, each

   17   party shall submit any presentation material (such as demonstrative exhibits, including

   18   PowerPoint or other slide presentations) it wishes to use at the claim construction hearing,

   19   and may submit a technology tutorial of no more than 20 minutes in length on CD-ROM,

   20   DVD or USB thumb drive. Any presentation materials shall be served on all parties as of

   21   the time that they are filed. At the claim construction hearing, the Court will not accept, and

   22   will not permit the parties to use, any presentation material that was not submitted with

   23   the briefing. If a party wishes to use a physical exhibit at the claim construction hearing,

   24   it shall file with its responsive brief photographs of the physical exhibit along with a

   25   statement that it intends to use the physical exhibit at the hearing. Concurrently with

   26   the filing of the responsive briefs, the parties shall jointly lodge with the Court the

   27   material described as follows in S.P.R. 3.5.1 through 3.5.3.

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               3.5.1 A chart in Word or WordPerfect format providing the parties’ proposed
   2           constructions of each disputed term, with a column for the Court’s construction.

   3           3.5.2 An annotated copy of the certified file history for each asserted patent.

   4           Each file history shall be printed double-sided, indexed, tabbed and compiled in a

   5           three-ring binder. Each office action, response, filing or other communication shall

   6           be given a separate tab, with the date of each clearly designated. Portions of the

   7           file history relied upon by the patentee for claim construction shall be highlighted

   8           in yellow. Portions of the file history relied upon by the accused infringer(s) shall

   9           be highlighted in blue. Portions of the file history relied upon by both sides shall be

   10          highlighted in green.

   11          3.5.3 An electronic copy of each file history on a CD-ROM, DVD or USB thumb

   12          drive. Each file history shall be a single PDF file with bookmarks corresponding to

   13          the tabs on the paper copy, and containing the highlighting present on the paper

   14          copy.

   15   3.6    Claim Construction Hearing

   16   Subject to the Court’s calendar, approximately 119 days (17 weeks) after the scheduling

   17   conference, the Court will conduct a claim construction hearing. Each side shall have 45

   18   minutes for its presentation, subject to enlargement at the Court’s discretion. Again, parties

   19   may not use at the hearing any presentation material they did not previously serve on

   20   opposing counsel and submit to the Court in accordance with S.P.R. 3.5.

   21   4.     FINAL CONTENTIONS, EXPERT REPORTS, DISCLOSURE OF ADVICE OF

   22          COUNSEL, AND DISPOSITIVE MOTION DEADLINE

   23   4.1    Final Infringement Contentions and Expert Reports

   24   No later than 28 days after the Court construes the claims, the party claiming patent

   25   infringement shall serve the information described as follows in S.P.R. 4.1.1 and 4.1.2.

   26   The deadlines provided in this rule do not excuse the requirement to supplement

   27   disclosures and discovery responses promptly. If a party receiving Final Infringement

   28   Contentions believes that amendments were made without good cause, it may move the


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Case 2:20-cv-03852-JAK-AGR Document 10 Filed 04/30/20 Page 33 of 81 Page ID #:57
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        Court to strike them.
   2           4.1.1 All Rule 26 expert reports on issues where the party claiming patent

   3           infringement bears the burden of proof.

   4           4.1.2 A statement that its S.P.R. 2.1 contentions are its Final Infringement

   5           Contentions, or in the alternative, Final Infringement Contentions that amend its

   6           S.P.R. 2.1 contentions. A party serving Final Infringement Contentions that amend

   7           its prior contentions shall also provide a redline against its prior contentions and a

   8           statement of reasons for each amendment. Amendments are subject to a good

   9           cause standard but do not require prior Court approval where they are made due

   10          to a claim construction by the Court different from that proposed by the party

   11          seeking amendment, or recent discovery of nonpublic information about the

   12          Accused Instrumentality that was not discovered, despite diligent efforts, before

   13          the service of the Infringement Contentions.

   14   4.2    Final Invalidity Contentions and Expert Reports

   15   No later than 28 days after service of the Final Infringement Contentions, the party

   16   opposing a claim of patent infringement shall serve the information described as follows in

   17   S.P.R. 4.2.1 and 4.2.2. The deadlines provided in this rule do not excuse the requirement

   18   to supplement disclosures and discovery responses promptly. If a party receiving Final

   19   Invalidity Contentions believes that amendments were made without good cause, it may

   20   move the Court to strike them.

   21          4.2.1 All Rule 26 expert reports on issues where the party opposing a claim of

   22          patent infringement bears the burden of proof.

   23          4.2.2 A statement that its S.P.R. 2.5 contentions are its Final Invalidity Contentions,

   24          or in the alternative, Final Invalidity Contentions that amend its S.P.R. 2.5

   25          contentions. A party serving Final Invalidity Contentions that amend its prior

   26          contentions shall also provide a redline against its prior contentions and a

   27          statement of reasons for each amendment. Amendments are subject to a good

   28          cause standard but do not require prior Court approval where they are made


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               due to a claim construction by the Court different from that proposed by the
   2           party seeking amendment, or recent discovery of material prior art that was not

   3           discovered, despite diligent efforts, before the service of the Invalidity Contentions.

   4    4.3    Rebuttal Expert Reports and Close of Discovery

   5    Rebuttal expert reports are due no later than 28 days after service of the respective

   6    S.P.R. 4.1 and 4.2 reports. Discovery closes 28 days after service of the latest set of

   7    rebuttal reports. This will typically be approximately 119 days (17 weeks) after the claim

   8    construction hearing. Amendments to or supplementation of expert reports after Standing

   9    Patent Rules deadlines are presumptively prejudicial and shall not be allowed absent prior

   10   leave of court upon a showing of good cause that the amendment or supplementation

   11   could not reasonably have been made earlier and that the opposing party is not unfairly

   12   prejudiced.

   13   4.4    Advice of Counsel

   14   No later than 28 days after service by the Court of its claim construction ruling, each party

   15   relying upon advice of counsel as part of a patent-related claim or defense for any reason

   16   shall produce the information described as follows in S.P.R. 4.4.1 through 4.4.3. A party

   17   not complying with this rule shall not be permitted to rely on advice of counsel for any

   18   purpose absent a stipulation of all parties or order of the Court.

   19          4.4.1 Any written advice and related documents for which the attorney-client and

   20          work-product protection have been waived.

   21          4.4.2 A written summary of any oral advice and related documents for which the

   22          attorney-client and work-product protection have been waived.

   23          4.4.3 A privilege log identifying any other documents, except those authored by

   24          counsel acting solely as trial counsel, relating to the subject matter of the advice

   25          that the party is withholding on the grounds of attorney-client privilege or work-

   26          product protection.

   27   4.5    Final Day for Filing Dispositive Motions

   28   All dispositive motions shall be filed no later than 28 days after the close of discovery.


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        5     TRIAL
   2    5.1    Standard Trial Procedures

   3    Generally, trial procedure is governed by this Court’s Specific Order on Jury/Court Trial

   4    and the Central District of California’s Local Rules.

   5    5.2    Other Possible Trial Procedures The Court is open to creative trial procedures,

   6    such as imposing time limits, allowing short statements introducing each witness’s

   7    testimony before examination, allowing questions from the jury and giving the jury a

   8    full set of instructions before the presentation of evidence.

   9    IT IS SO ORDERED.

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                                                                JOHN A. KRONSTADT
   11                                                           UNITED STATES DISTRICT JUDGE

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Case 2:20-cv-03852-JAK-AGR Document 10 Filed 04/30/20 Page 36 of 81 Page ID #:60
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                                      EXHIBIT C
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                ORDER SETTING RULE 16(b)/26(f) SCHEDULING CONFERENCE
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   9                              UNITED STATES DISTRICT COURT

                                 CENTRAL DISTRICT OF CALIFORNIA
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   11 Plaintiff’s Name(s),                           Case No.:                         JAK ( x)

                        Plaintiff(s),
   12                                                ORDER SETTING RULE 16(b)/26(f)
             vs.                                     SCHEDULING CONFERENCE
   13
        Defendant’s Name(s),
   14                 Defendant(s).
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   16
   17    This case has been assigned to Judge John A. Kronstadt. This Order applies to all parties

   18    in this action, whether or not they are represented by counsel. “Counsel,” as used in this

   19    Order, also refers to parties who are representing themselves. If plaintiff has not already

   20    served the complaint (or any amendment thereto) on each defendant, plaintiff shall

   21    promptly do so and file proofs of service within three (3) days thereafter. Defendant(s)

   22    also shall timely serve and file their responsive pleadings and file proofs of service within
   23    three (3) days thereafter.
   24    The Court is prepared to issue a scheduling order in this matter. If a hearing is necessary,

   25    the scheduling conference will be held on the date listed in the caption. The conference
   26    will be held pursuant to Fed. R. Civ. P. 16 and Fed. R. Civ. P. 26(a). The parties are
   27    reminded of their obligations under Fed. R. Civ. P. 26(a) to disclose information
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        (without awaiting a discovery request) and under Rule 26(f) to confer on a discovery plan
   2    not later than twenty−one (21) days prior to the scheduling conference and to file a report

   3    with the Court entitled “Joint Rule 16(b)/26(f) Report” not later than ten (10) calendar days

   4    before the date set for the scheduling conference. If a hearing is not necessary, a date

   5    for the scheduling conference will not be set. The caption of this Order will state that the

   6    hearing is taken under submission and a hearing will not be held. The date for the filing of

   7    the Joint Rule 16(b)/26(f) Report will be included. Please comply with these requirements;

   8    it will simplify the Scheduling Conference.

   9         The Court encourages counsel to begin to conduct discovery actively before the

   10   Scheduling Conference. The Court encourages prompt, early discovery because at the

   11   Scheduling Conference the Court will set firm deadlines to complete discovery. The

   12   parties shall comply fully with the letter and spirit of Fed. R. Civ. P. 26(a) and thereby

   13   obtain and produce most of what would be produced in the early stage of discovery.

   14   Discovery is not stayed prior to the Scheduling Conference or after dates have been

   15   set unless otherwise ordered by the Court.

   16   1.    Joint Rule 16(b)/26(f) Report

   17         The Joint Rule 16(b)/26(f) Report shall be drafted by plaintiff’s counsel (unless the

   18   parties agree otherwise or unless plaintiff is self-represented, in which case defendant’s

   19   counsel), but shall be submitted and signed jointly. “Jointly” contemplates a single report,

   20   regardless of how many separately-represented parties there are. The Joint Rule

   21   16(b)/26(f) Report shall report on all matters enumerated below, which include those

   22   required to be discussed by Rule 26(f) and Local Rule 26. The Joint Rule 16(b)/26(f)

   23   Report should set forth the following information under section headings corresponding to

   24   those in this Order:

   25   a.    Statement of the Case: A short synopsis (not to exceed two (2) pages) of the main

   26   claims, counterclaims, and affirmative defenses.

   27   b.    Subject Matter Jurisdiction: A statement of the specific basis of federal jurisdiction,

   28   including supplemental jurisdiction.


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         c.    Legal Issues: A brief description of the key legal issues, including any unusual
    2    substantive, procedural or evidentiary issues.

    3    d.    Parties, and Non-Party Witnesses: A list of parties and percipient witnesses on

    4    the main issues in the case. For conflict purposes, corporate parties must identify all

    5    subsidiaries, parents and affiliates.

    6    e.    Damages: The realistic range of provable damages.

    7    f.    Insurance: Whether there is insurance coverage.

    8    g.    Motions: A statement of the likelihood of motions seeking to add other parties or

    9    claims, file amended pleadings or transfer venue.

    10   h.    Manual for Complex Litigation: Whether all or part of the procedures of the Manual

    11   for Complex Litigation should be utilized.

    12   i.    Status of Discovery: A discussion of the present state of discovery, including a

    13   summary of completed discovery.

    14   j.    Discovery Plan: A detailed discovery plan, as contemplated by Rule 26(f), including

    15   the identity of all anticipated deponents and dates by which their depositions are to be

    16   completed (if possible), anticipated written discovery requests, including requests for

    17   admission, document requests, and interrogatories, and a schedule for completion of

    18   all discovery. State what, if any, changes in the disclosures under Rule 26(a) should be

    19   made, the subjects on which discovery may be needed and whether discovery should be

    20   conducted in phases or limited in some manner, whether applicable limitations should be

    21   changed or other limitations imposed, and whether the Court should enter other orders.

    22   Please note that a statement to the effect that discovery will be conducted as to all claims

    23   and defenses, will not satisfy this requirement.

    24   k.    Discovery Cut-Off: A proposed discovery cut-off date. This means the final day for

    25   completion of non-expert discovery, including resolution of all discovery motions. The last

    26   day to hear discovery motions shall be the same as the last day to hear all motions.

    27   See Exhibit C-1.

    28   \\\

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        l.    Expert Discovery: Proposed dates for expert witness disclosures (initial and rebuttal)
   2    and expert discovery cut-off under Rule 26(a)(2).

   3    m.    Dispositive Motions: A description of the issues or claims that any party believes

   4    may be determined by motion for summary judgment or motion in limine.

   5    n.    Settlement: A statement of what settlement discussions or written communications

   6    have occurred (excluding any disclosure or discussion of the substantive matters or terms

   7    discussed) and a statement pursuant to Local Rule 16-15.4 about selecting a settlement

   8    mechanism under that Rule. In light of the Court’s participation in the ADR Program, no

   9    case will proceed to trial unless all parties with full authority to settle the case - including,

   10   as to each corporate party, an officer who has such authority - have appeared personally

   11   at a settlement conference. The Court will discuss the proposed ADR procedure with the

   12   parties at the time of the Scheduling Conference and will issue the ADR-12 order once the

   13   settlement method is selected. For information about the Court’s ADR Program, review

   14   General Order 11-10, which is located on the “ADR” page of the Court’s website.

   15   o.    Trial Estimate: A realistic estimate of the time required for trial and whether trial

   16   will be by jury or by the Court. Each side should specify (by number, not by name) how

   17   many witnesses it contemplates calling. If the time estimate for trial given in the Joint

   18   Rule 26(f) Report exceeds five (5) court days, counsel shall be prepared to discuss in

   19   detail the estimate.

   20   p.    Trial Counsel: The name(s) of the attorney(s) who will try the case, including those

   21   who will be lead trial counsel.

   22   q.    Independent Expert or Master: Whether this is a case in which the Court should

   23   consider appointing a Master pursuant to Rule 53 or an independent scientific expert.

   24   r.   Timetable: Please complete the Schedule of Pretrial and Trial Dates form attached

   25   as Schedule A to this Order (Exhibit C-1) and attach it to the Joint Rule 16(b)/26(f) Report.

   26   The entries in the “Weeks Before Trial” column reflect what the Court believes are

   27   appropriate for most cases and will allow the Court to rule on potentially dispositive

   28   motions sufficiently far in advance of the pretrial conference. The form is designed to


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        enable counsel to ask the Court to set different last dates by which the key requirements
   2    must be completed. Each side should fill in the month, day and year it requests for each

   3    event. E.g., for the expert discovery cut-off it might be “10/7/16” for plaintiff and “10/28/16”

   4    for defendant, if they cannot agree. Each entry proposing a court date shall be on a

   5    Monday, except the trial date, which will be a Tuesday. Counsel should ensure that

   6    requested dates do not fall on a court holiday. At the conference, the Court will review

   7    this form with counsel in determining the dates that will be set in the case. The cut-off

   8    date for motions is the last date on which motions may be filed. The Court is not likely

   9    to continue this date. Counsel shall refer to the Court’s “Order on Court/Jury Trial.”

   10   See Exhibit D. This Order will set forth all pre-trial obligations of counsel, and, where

   11   applicable, the deadlines for each. Upon the Court’s final ruling on all motions, counsel

   12   will be directed to submit proposed dates for the Final Pretrial Conference and trial.

   13   s.   Other Issues: A statement of any other issues affecting the status or management

   14   of the case (e.g., unusually complicated technical or technological issues, disputes over

   15   protective orders, extraordinarily voluminous document production, non-English speaking

   16   witnesses, ADA-related issues, discovery in foreign jurisdictions) and any proposals

   17   concerning severance, bifurcation or other ordering of proof.

   18   t.   Patent Cases: Propose dates and methodology for claim construction and Markman

   19   hearings. See also Exhibit B.

   20   u.    Whether the Parties Wish to Have a Magistrate Judge Preside: Under 28 U.S.C.

   21   § 636, the parties may consent to have a Magistrate Judge preside over an entire action,

   22   not just discovery. See General Order 12-01 and General Order 12-02. The parties

   23   may select a Magistrate Judge from the Voluntary Consent List and comply with the

   24   requirements outlined in General Order 12-01 and General Order 12-02 and those

   25   outlined on the Court’s website: http://www.cacd.uscourts.gov/judges-requirements/

   26   court-programs/voluntary-consent-list-civil-cases-magistrate-judges-program.

   27   2.    Scheduling Conference

   28         The Scheduling Conference will be held in Courtroom 10B of the First Street


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        Courthouse located at 350 W. First Street, Los Angeles, California. Counsel shall comply
   2    with the following with respect to the Scheduling Conference:

   3    a.   Participation: The lead trial attorney for each party shall attend the Scheduling

   4    Conference unless such counsel is engaged in trial, or has good cause following a request

   5    to the Clerk by either telephone or email in advance of the Scheduling Conference.

   6    b.   Continuance: A continuance of the Scheduling Conference will be granted only for

   7    good cause, following a written request with a proposed order to be e-filed at least one (1)

   8    week in advance of the Scheduling Conference.

   9    c.   Use of Conference Telephone: In general, the Court prefers in-person appearances.

   10   However, if one or more of the lead counsel has his or her office outside of Los Angeles

   11   County, or under other appropriate circumstances, the Court may, upon the request of

   12   one or more counsel, conduct the status conference by conference telephone call. Any

   13   request for a telephonic appearance must be made at least two (2) court days before

   14   the scheduled hearing by contacting the Courtroom Deputy Clerk for further instructions.

   15   The Court does not entertain a telephonic appearance if the Scheduling Conference is

   16   set at the same date and time as a motion unless it is an exceptional and unanticipated

   17   circumstance. Any request for a telephonic appearance at a motion hearing must be made

   18   in writing and e-filed at least seven (7) calendar days before the scheduled hearing and

   19   shall include a declaration from counsel setting forth the basis for the request with a

   20   proposed order. The Court does not use Court Call. If the request is granted, the order

   21   will include the information for the call. Please note that cell phones or the use of speaker

   22   phones are not permitted for any telephonic appearance.

   23   3.   Protective Orders

   24        If you seek a protective order, please use your best efforts to propose it to opposing

   25   counsel before the Scheduling Conference. Protective orders are considered discovery

   26   and shall be prepared and submitted to the assigned Magistrate Judge.

   27   4.   Notice to be Provided by Counsel

   28        Plaintiff’s counsel or, if plaintiff is self-represented, defendant’s counsel, shall serve


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        this Order on any parties who first appear after the date of this Order and to parties who
   2    are known to exist but have not yet entered appearances.

   3    5.   Disclosures to Clients

   4         Counsel are ordered to deliver to their respective clients a copy of this Order and

   5    of the Court’s Scheduling and Case Management Order, which will set forth the schedule

        that the Court establishes at the Scheduling Conference.
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        IT IS SO ORDERED.
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   8                                                          JOHN A. KRONSTADT
                                                              UNITED STATES DISTRICT JUDGE
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                                         EXHIBIT C-1
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          SCHEDULE A TO ORDER SETTING RULE 16(b)/26(f) SCHEDULING CONFERENCE:
   3
                       SCHEDULE OF PRETRIAL AND TRIAL DATES FOR:
   4                                  1. CIVIL CASES
   5                                2. PATENT CASES

   6                                 3. ERISA CASES

                              4. TRIAL DATES FOR ALL CASES
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   1    EXHIBIT A − SCHEDULE OF PRETRIAL AND TRIAL DATES FOR CIVIL CASES
   2     Case No.:

   3     Case Name:

   4
         Deadlines:                                                     Plaintiff(s)   Defendant(s)   Court Order
   5                                                                    Request        Request

   6
         Last Date to Add Parties/Amend Pleadings
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         Non-Expert Discovery Cut-Off
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         Expert Disclosure (Initial)
         (2 weeks after non-expert discovery cut-off)
   11
   12    Expert Disclosure (Rebuttal)
         (4 weeks after non-expert discovery cut-off)
   13
   14    Expert Discovery Cut-Off
         (6 weeks after non-expert discovery cut-off)

   15
         Last Date to File All Motions (incl. discovery motions)
   16    (6 weeks after non-expert discovery cut-off)

   17
         Settlement Procedure Selection:                                Plaintiff(s)   Defendant(s)   Court Order
         (ADR-12 Form will be completed by Court after                  Request        Request
   18    scheduling conference)

   19
         1. Magistrate Judge
         2. Attorney Settlement Officer Panel
   20    3. Outside ADR/Non-Judicial (Private)

   21
         Last day to conduct settlement conference or
         mediation
   22
   23    Notice of Settlement / Joint Report re Settlement
         (First Friday following last day to conduct settlement
         conference or mediation)
   24
   25    Post Mediation Status Conference
         (10 days after due date to file notice of settlement / joint
         report re settlement: Mondays at 1:30 pm)
   26
   27   Note: If necessary, counsel will be invited to submit proposed dates with respect to
        the final pretrial conference and trial date upon the Court’s final ruling on all
        motions. The trial estimate will be set at the final pretrial conference.
   28

                                                              45
Case 2:20-cv-03852-JAK-AGR Document 10 Filed 04/30/20 Page 46 of 81 Page ID #:70
   1    EXHIBIT A − SCHEDULE OF PRETRIAL AND TRIAL DATES FOR PATENT CASES
   2     Case No.:

   3     Case Name:

   4
         Deadlines:                     Weeks After Listed         Plaintiff(s)   Defendant(s)   Court Order
   5                                    Event                      Request        Request

   6
         Infringement Contentions       2 (After Order Setting
   7     (S.P.R. 2.1, 2.2)              Scheduling Conference)

   8
         Early Meeting of the           4 (After Order Setting
   9     Parties, Initial Disclosures   Scheduling Conference)
         (S.P.R. 2.3)

   10
         Joint Rule 26(f) Report        10 days (Before
         (S.P.R. 2.3)                   Scheduling Conference
   11                                   Date)

   12
         Scheduling Conference          [set by Court]
   13    (S.P.R. 2.4)


   14
         Last Date to Add
   15    Parties/Amend Pleadings


   16
         Invalidity Contentions         2 (After Scheduling
         (S.P.R. 2.5, 2.6)              Conference)
   17
   18
         Exchange of Claim Terms        4 (After Scheduling
         (S.P.R. 3.1)                   Conference)
   19
   20
         Exchange Proposed          6 (After Scheduling
         Constructions and Evidence Conference)
   21    (S.P.R. 3.2)

   22    Complete Claim                 10 (After Scheduling
         Construction Discovery         Conference)
   23    (S.P.R. 3.3)

   24    Joint Markman Prehearing       11 (After Scheduling
         Statement                      Conference)
   25    (S.P.R. 3.4)

   26    Simultaneous Opening           12 (After Scheduling
         Markman Briefs                 Conference)
   27    (S.P.R. 3.5)


   28

                                                              46
Case 2:20-cv-03852-JAK-AGR Document 10 Filed 04/30/20 Page 47 of 81 Page ID #:71
   1
         Simultaneously           14 (After Scheduling
         Responding Markman       Conference)
   2     Briefs, Tutorials, and
         Presentation Materials
   3     (S.P.R. 3.5)

   4
         Markman Hearing          17 (After Scheduling
   5     (S.P.R. 3.6)             Conference)

   6
         Markman Decision         [set by Court]
   7
         Patentee Files           4 (After Markman
   8     Final Infringement       Decision)
         Contentions, Expert
   9     Reports on issues
         Where Patentee has
   10    Burden of Proof, All
         Parties File Advice of
         Counsel Disclosures
   11    (S.P.R. 4.1, 4.4)

   12    Accused Infringer        8 (After Markman
         Files Final Invalidity   Decision)
   13    Contentions, Rebuttal
         Expert Reports, and
         Opening Expert
   14    Reports Where
         Accused Infringer has
   15    Burden of Proof
         (S.P.R. 4.2)
   16
         Patentee’s Rebuttal     12 (After Markman
         Expert Reports on       Decision)
   17    Issues Where Accused
         Infringer has Burden of
   18     Proof
         (S.P.R. 4.3)
   19
   20    Discovery Cut-Off        16 (After Markman
         (S.P.R. 4.3)             Decision)
   21
         Last Date to File All
   22                             20 (After Markman
         Motions                  Decision)
         (S.P.R. 4.5)
   23
        Note: If necessary, counsel will be invited to submit proposed dates with respect to
   24   the final pretrial conference and trial date upon the Court’s final ruling on all motions.
        The trial estimate will be set at the final pretrial conference.
   25
                      **CONTINUE TO NEXT PAGE FOR SETTLEMENT DATES**
   26
   27
   28

                                                   47
Case 2:20-cv-03852-JAK-AGR Document 10 Filed 04/30/20 Page 48 of 81 Page ID #:72
   1
         Settlement Procedure Selection:               Plaintiff(s)   Defendant(s) Court Order
   2     (ADR-12 Form will be completed by Court after Request        Request
          scheduling conference)
   3
         1. Magistrate Judge
   4     2. Attorney Settlement Officer Panel
         3. Outside ADR/Non-Judicial (Private)
   5
         Last day to conduct settlement conference
   6     or mediation
   7
         Notice of Settlement / Joint Report re
         Settlement
   8     (First Friday following last day to conduct
         settlement conference or mediation)
   9     Post Mediation Status Conference
         (10 days after due date to file notice of
   10    settlement / joint report re settlement:
         Mondays at 1:30 pm)
   11
   12
   13
   14
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Case 2:20-cv-03852-JAK-AGR Document 10 Filed 04/30/20 Page 49 of 81 Page ID #:73
   1    EXHIBIT A − SCHEDULE OF PRETRIAL AND TRIAL DATES FOR ERISA CASES
   2     Case No.:

   3     Case Name:

   4
         Hearings:                                                      Plaintiff(s)   Defendant(s)   Court Order
   5                                                                    Request        Request

   6
   7     Last Date to Add Parties/Amend Pleadings:


   8
         Simultaneous Opening Briefs:
   9
   10
         Simultaneous Responsive Briefs:
   11
   12    Court Trial/Hearing on Administrative Record:
         (Tuesday at 9:00 a.m.)

   13
         Duration Estimate: ____ Days / ____ Weeks

   14
         Settlement Procedure Selection:                                Plaintiff(s)   Defendant(s)   Court Order
         (ADR−12 Form will be completed by Court after                  Request        Request
   15    scheduling conference)

   16
         1. Magistrate Judge
         2. Attorney Settlement Officer Panel
   17    3. Outside ADR/Non-Judicial (Private)

   18
         Last day to conduct settlement conference or
         mediation
   19
   20
         Notice of Settlement / Joint Report re Settlement
         (First Friday following last day to conduct settlement
   21    conference or mediation)

   22    Post Mediation Status Conference
         (10 days after due date to file notice of settlement / joint
   23    report re settlement: Mondays at 1:30 pm)


   24
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   26
   27
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                                                              49
Case 2:20-cv-03852-JAK-AGR Document 10 Filed 04/30/20 Page 50 of 81 Page ID #:74
   1    EXHIBIT A − SCHEDULE OF DATES FOR CIVIL JURY TRIALS (After Court has ruled
        on all motions)
   2
         Case No.:
   3
         Case Name:
   4
   5
         Settlement Procedure Selection:                               Plaintiff(s)   Defendant(s)   Court Order
                                                                       Request        Request
   6
   7     1. Magistrate Judge
         2. Attorney Settlement Officer Panel
         3. Outside ADR/Non-Judicial (Private)
   8
   9     Last day to conduct settlement conference or
         mediation
         (within 30 days of the Court’s final ruling on all motions)
   10
   11    Notice of Settlement / Joint Report re Settlement
         (1 week after last day to complete settlement)
   12
   13    Pretrial and Jury Trial Dates:                                Plaintiff(s)   Defendant(s)   Court Order
                                                                       Request        Request
   14
   15    Last day to file all pretrial documents and motions
         in limine
         (2 weeks after last day to complete settlement)
   16
   17    Last day to file response to motions in limine
         (3 weeks after last day to complete settlement)
   18
         Final Pretrial Conference, Status Conference re
         Disputed Exhibits, and Hearing on Motions in
   19    Limine
         (4 weeks after last day to complete settlement: Monday
   20    at 1:30 pm)

         Jury Trial
   21    (6 weeks after last day to complete settlement: Tuesday
         at 9:00 a.m.)
   22    Duration Estimate: ____ Days / ____ Weeks

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   24
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Case 2:20-cv-03852-JAK-AGR Document 10 Filed 04/30/20 Page 51 of 81 Page ID #:75
   1    EXHIBIT A − SCHEDULE OF DATES FOR CIVIL COURT TRIALS (After Court has
        ruled on all motions)
   2
         Case No.:
   3
         Case Name:
   4
   5     Settlement Procedure Selection:                               Plaintiff(s)   Defendant(s)   Court Order
                                                                       Request        Request
   6
         1. Magistrate Judge
   7     2. Attorney Settlement Officer Panel
         3. Outside ADR/Non-Judicial (Private)
   8
         Last day to conduct settlement conference or
   9     mediation
         (within 30 days of the Court’s final ruling on all motions)

   10
         Notice of Settlement / Joint Report re Settlement
   11    (1 week after last day to complete settlement)


   12    Pretrial and Jury Trial Dates:                                Plaintiff(s)   Defendant(s)   Court Order
                                                                       Request        Request
   13
   14    Last day to file all pretrial documents and direct
         testimony declarations
         (2 weeks after last day to complete settlement)
   15
         Last day to file objections to direct testimony
   16    declarations
         (3 weeks after last day to complete settlement)
   17
         Anticipated ruling on direct testimony declarations
   18    (4 weeks after last day to complete settlement)

   19    Final Pretrial Conference and Status Conference re
         Disputed Exhibits
         (4 weeks after last day to complete settlement: Monday
   20    at 1:30 pm)

         Court Trial
   21    (6 weeks after last day to complete settlement: Tuesday
         at 9:00 a.m.)
   22    Duration Estimate: ____ Days / ____ Weeks

   23
   24
   25
   26
   27
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                                                              51
Case 2:20-cv-03852-JAK-AGR Document 10 Filed 04/30/20 Page 52 of 81 Page ID #:76
    1
                                      EXHIBIT D
    2
              ORDER RE JURY/COURT TRIAL FOR CASES ASSIGNED TO JUDGE JOHN A.
    3                              KRONSTADT

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   8
   9                              UNITED STATES DISTRICT COURT

                                 CENTRAL DISTRICT OF CALIFORNIA
   10
   11 Plaintiff’s Name(s),                            Case No.:                         JAK ( x)

                        Plaintiff(s),
   12                                                 ORDER RE JURY/COURT TRIAL FOR
             vs.                                      CASES ASSIGNED TO JUDGE JOHN A.
   13                                                 KRONSTADT
        Defendant’s Name(s),
   14                  Defendant(s).
   15
   16
   17    A. SCHEDULING

   18           1. In General: The last day for hearing on any motion to join other parties or to

   19    amend the pleadings shall be specified in the Scheduling Order. All unserved parties shall

   20    be dismissed no later than the date set for the Final Pretrial Conference.

   21           2. Motions for Summary Judgment or Partial Summary Judgment: Motions for

   22    Summary Judgment or Partial Summary Judgment shall be heard no later than the last

   23    day for hearing motions, as set forth in the Scheduling Order.

   24           3. Settlement Procedures: It is the policy of the Court to encourage disposition

   25    of civil litigation by settlement when such is in the best interest of the parties. The Court

   26    any favors reasonable means to accomplish this goal. Pursuant to Local Rule 16-15, in

   27    every civil case, the parties shall select a settlement procedure. If counsel have received a

   28    Notice to Parties of Court-Directed ADR Program (Form ADR-08), the case presumptively


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        will be referred to the Court Mediation Panel or to private mediation. See General Order
   2    11-10, § 5.1 and Local Rule 26-1(c). The Court will discuss the proposed ADR procedure

   3    with the parties at the time of the Scheduling Conference and will issue the ADR-12 form

   4    once the settlement method is selected. For information about the Court’s ADR Program,

   5    review General Order 11-10, which is located on the “ADR” page of the Court’s website.

   6           4. Discovery Cut-Off: The Scheduling Order establishes a cut-off date for

   7    discovery in this action. This is not the date by which discovery requests must be served;

   8    it is the date by which all discovery is to be completed. The Court will not approve

   9    stipulations between counsel that permit responses to be served after the cut-off date,

   10   except in extraordinary circumstances.

   11          5. Discovery Motions: Any motion with respect to the inadequacy of responses

   12   to discovery must be heard by the date set for the last day to hear motions. Whenever

   13   possible, the Court expects counsel to resolve discovery issues among themselves in a

   14   courteous, reasonable and professional manner. Thus, the Court expects that counsel will

   15   strictly adhere to the Civility and Professional Guidelines adopted by the United States

   16   District Court for the Central District of California.

   17   B. FINAL PRETRIAL CONFERENCE

   18          This case has been placed on the calendar for a Final Pretrial Conference

   19   pursuant to Fed. R. Civ. P. 16. Strict compliance with the requirements of the Federal

   20   Rules of Civil Procedure and the Local Rules is mandatory. Counsel shall file carefully

   21   prepared Memoranda of Contentions of Fact and Law (which may also serve as the

   22   parties’ respective trial briefs) and a Final Pretrial Conference Order in accordance with

   23   the provisions of Local Rules 16-4 and 16-7. The Memoranda of Contentions of Fact and

   24   Law will be served no later than twenty-one (21) days before the Pretrial Conference.

   25   The Final Pretrial Conference Order will be lodged no later than fourteen (14) days before

   26   the Final Pretrial Conference. The form of the Final Pretrial Conference Order will be in

   27   the form set forth in Appendix A to the Local Rules.

   28   \\\


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   1
        C. PREPARATION FOR TRIAL
   2           The Court ORDERS that all counsel comply with the following rules in their

   3    preparation for trial:

   4           1. Motions In Limine: All motions in limine will be heard at the Final Pretrial

   5    Conference. The purpose of these motions is to alert the Court to significant evidentiary

   6    issues that can be addressed and resolved prior to trial. All motions in limine must be

   7    e-filed fourteen (14) calendar days before the Final Pretrial Conference and served in

   8    compliance with Local Rule 6-1. Any oppositions shall be e-filed no later than seven (7)

   9    calendar days before the Final Pretrial Conference and not exceed ten (10) pages. The

   10   Court will permit oral argument on motions in limine and, therefore, a reply is not required.

   11   A proposed order is not required to be e-filed with the motion(s).

   12          2. Statement of the Case (Jury Trials): Counsel shall meet and confer twenty-

   13   one (21) calendar days prior to the Final Pretrial Conference to determine if, in lieu of

   14   a Joint Statement of the Case, they will stipulate to having each side make a brief (less

   15   than five minute) mini-opening statement to the panel of prospective jurors prior to the

   16   commencement of voir dire. Such mini-opening statements are not to be argument, but

   17   rather a summary of the evidence that each side intends to present. If all parties do not

   18   stipulate to the use of mini-opening statements, they shall meet and confer and seek to

   19   reach agreement on a Joint Statement of the Case to be read by the Court to the panel

   20   of prospective jurors prior to the commencement of voir dire. Counsel shall file the joint

   21   statement of the case no later than fourteen (14) calendar days prior to the Final Pretrial

   22   Conference. If the parties cannot agree on such a joint statement, they shall file a

   23   “Disputed Joint Statement of the Case,” which shall include each party’s respective

   24   proposed statement, together with a “redline” comparing the parties’ respective statements.

   25   The parties shall deliver a courtesy copy pursuant to Local Rule 5-4.5. A final version of

   26   the joint statement shall be provided to the Court on the first day of trial.

   27          3. Voir Dire (Jury Trials): Counsel may submit proposed voir dire questions that

   28   are unique to the particular trial. Each party may submit their respective questions fourteen


                                                     55
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   1
        (14) calendar days prior to the Final Pretrial Conference.
   2           4. Witness Lists: A witness list shall be prepared in compliance with Local Rule

   3    16-5 and shall be filed no later than fourteen (14) calendar days prior to the Final Pretrial

   4    Conference. Counsel shall submit the names of the witnesses in the order that they are

   5    expected to testify, and will provide, to the extent possible, an accurate estimate of the

   6    time needed for each witness for direct, cross, redirect and re-cross. Counsel will also

   7    provide a brief summary of each witness’ testimony. If more than one witness is offered

   8    on the same subject, the summary should be sufficiently detailed to allow the Court to

   9    determine if the testimony is cumulative.

   10          Counsel shall set forth the information about the amount of time that is expected

   11   for the testimony of each witness on a jointly-prepared document with five columns:

   12   (i) name of the witness; (ii) estimated time for direct examination (in hours, with portions

   13   thereof stated in decimal form, e.g., “1.5 hours,” if the estimate is for one hour and 30

   14   minutes); (iii) estimated time for cross-examination; (iv) estimated time for re-direct

   15   examination; and (v) total time for the witness. At the bottom of each page the total time

   16   for all witnesses on that page shall be stated, with the grand total of all time stated on

   17   the final page of the chart.

   18          At the time of trial, counsel shall provide three (3) copies of the witness lists in the

   19   order in which the witnesses will be called to testify and three (3) copies of witness lists in

   20   alphabetical order.

   21          5. Jury Instructions: In a jury trial, jury instructions are to be filed no later than

   22   fourteen (14) calendar days prior to the Final Pretrial Conference. The parties shall make

   23   every attempt to agree upon jury instructions before submitting proposals to the Court.

   24   The Court prefers Ninth Circuit model instructions. Counsel shall exchange proposed

   25   jury instructions (general and special) twenty-eight (28) calendar days prior to the Final

   26   Pretrial Conference. Counsel shall exchange any objections to the instructions twenty-one

   27   (21) calendar days prior to the Final Pretrial Conference. Counsel shall meet and confer

   28   with the goal of reaching an agreement on one set of joint jury instructions, which shall be


                                                    56
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   1
        filed no later than fourteen (14) calendar days before the Final Pretrial Conference. If the
   2    parties disagree over any proposed jury instruction(s), the parties shall file: (i) one set of

   3    proposed jury instructions to which all parties agree; and (ii) one set of disputed jury

   4    instructions, which shall include a “redline” of any disputed language and/or the factual

   5    or legal basis for each party’s respective position as to each disputed instruction. Where

   6    appropriate, the disputed instructions shall be organized by subject, so that the instructions

   7    that address the same or similar issues are presented sequentially. The parties shall

   8    deliver a courtesy copy of these documents pursuant to Local Rule 5-4.5. A final “clean”

   9    version of the jury instructions, which shall include the pre-instructions and the text of

   10   each instruction (eliminating titles, supporting authority, indication of party proposing, etc.)

   11   shall be provided to the Court on the first day of trial and sent via email in either Word or

   12   Word Perfect to the Court’s Chambers’ email at: jak_chambers@cacd.uscourts.gov.

   13          6. Verdict Form(s) in Jury Trials: The parties shall make every attempt to

   14   agree upon a verdict form before submitting proposals to the Court. Counsel shall file a

   15   proposed verdict form(s) no later than fourteen (14) calendar days prior to the Final Pretrial

   16   Conference. If the parties are unable to agree on a verdict form, the parties shall file one

   17   document titled “Competing Verdict Forms” which shall include: (i) the parties’ respective

   18   proposed verdict form; (ii) a “redline” of any disputed language; and (iii) the factual or

   19   legal basis for each party’s respective position if the entire form is being disputed. The

   20   parties shall deliver a courtesy copy of these documents pursuant to Local Rule 5-4.5.

   21   A final version of the verdict form shall be provided to the Court on the first day of trial

   22   and sent via email in either Word or Word Perfect to the Court’s Chambers’ email at:

   23   jak_chambers@cacd.uscourts.gov.

   24          7. Exhibits:

   25                       a.     Exhibit List: A joint exhibit list will be prepared in compliance

   26   with the example below and Local Rule 16-6.

   27   \\\

   28   \\\


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   1
                  JOINT EXHIBIT LIST
   2
                  Case Name:
   3              Case Number:
   4     No. of        Description             Stip. to      Stip. to      Date          Date

   5     Exhibit                               Authen.       Admiss.       Identified    Admitted

   6
   7           Lead trial counsel shall meet and confer at least twenty-one (21) calendar days
   8    before the Final Pretrial Conference to discuss and seek to agree, to the extent possible,

   9    on issues including foundation, and admissibility of proposed exhibits. A joint exhibit list,

   10   the format of which shall comply with Local Rule 16-6.1, shall be filed fourteen (14)

   11   calendar days prior to the Final Pretrial Conference. Counsel shall file a “Notice of

   12   Disputed Exhibits,” if applicable, which shall set forth the basis for any disputed exhibit(s).

   13   Counsel shall confer so that there are no duplicate exhibits.

   14                       b.       Exhibit Preparation: One (1) original (witness copy) and one

   15   (1) copy (bench copy) shall be presented to the Courtroom Deputy Clerk on the first day of

   16   trial. The exhibits shall be presented in a binder. Each binder shall be clearly labeled on

   17   the spine to include the case name, party and volume number. The Court does not require

   18   specific exhibit tags so long as each document is bate-stamped and separated with a

   19   divider that is numbered. Each party shall use a different number sequence and shall

   20   comply with Local Rule 26-3.

   21                       c.       Voluminous Trial Exhibits/Materials: Arrangements for

   22   bringing voluminous trial materials or exhibits into the Courtroom through the Building

   23   Vehicle Loading Dock, if required, may be made through the Space & Facilities Help Desk

   24   at 213-894-1400. Before contacting Space & Facilities for a required security pass, prior

   25   approval of delivery time must be coordinated with the Courtroom Deputy Clerk. Once

   26   approval from the Clerk is received, logistical delivery information must be provided to

   27   Space & Facilities no later than 48 hours of the date of arrival to create and issue the

   28   required security pass. Counsel and messengers attempting to access the building parking


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        and loading dock without a required pass will be denied entry.
   2           8. (Court Trials): Findings of Fact and Conclusions of Law; Declarations:

   3    For any matter requiring findings of fact and conclusions of law, counsel for each party

   4    shall lodge and serve proposed findings of fact and conclusions of law as promptly as

   5    possible in compliance with Local Rule 52. In addition, counsel must submit electronic

   6    versions (in Word or Word Perfect) to the Court at the following email address:

   7    jak_chambers@cacd.uscourts.gov. When ordered by the Court in a particular case, each

   8    party shall, at least twenty-one (21) calendar days prior to the Final Pretrial Conference,

   9    file declarations containing the direct testimony of each witness whom that party intends

   10   to call at trial. If such declarations are filed, each party shall file any evidentiary objections

   11   to the declaration(s) submitted by any other party at least fourteen (14) calendar days

   12   prior to the Final Pretrial Conference. If any party submits such objections, they shall

   13   be submitted in the following three-column format: (i) the left column should contain a

   14   verbatim quote of each statement objected to (including page and line number); (ii) the

   15   middle column should set forth a concise objection (e.g., hearsay, lacks foundation, etc.)

   16   with a citation to the Federal Rules of Evidence or, where applicable, a case citation; and

   17   (iii) the right column should provide space for the Court’s entry of its ruling on the objection.

   18   The Court anticipates issuing its ruling on the objections the same date as the date

   19   scheduled for the Final Pretrial Conference. Counsel shall refer to the Court’s Initial

   20   Standing Order and Exhibit F for the proper format.

   21          9. Notice to Court Reporter re Uncommon and/or Scientific Terms: At least

   22   one week before trial, the parties must confer and file a glossary of terms for the court

   23   reporter that includes applicable medical, scientific, or technical terms, gang terms,

   24   slang, the names and spellings of names likely to be cited, and any other case-specific

   25   terminology.

   26   D. ATTORNEY AND PARTY CONDUCT AT TRIAL

   27          1. Trial Schedule: Trials are generally conducted Tuesday through Friday.

   28   The Court will adopt a particular time schedule on a case-by-case basis. In general,


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        the schedule will be either: (i) from 8:30 a.m. to 2:30 p.m. with two or three 20-minute
   2    breaks; or (ii) from 9:00 a.m. to 4:00 p.m., with a 15-minute break in both the morning and

   3    the afternoon, and a one-hour lunch break. This schedule may be changed for each trial

   4    and during each trial depending on the scheduling needs of jurors, witnesses, counsel

   5    or the Court.

   6           2. Trial Conduct:

   7                        a.      Jury Selection

   8                                1. The Court will seat as prospective jurors the same number

   9    of jurors who will serve at trial. The Court will conduct voir dire of this panel, which may

   10   include questions proposed by counsel both prior to trial and during the voir dire process.

   11   After any potential juror is excused for cause, a replacement juror will be placed in the

   12   vacant seat and will respond to voir dire. Once a panel is in place to which there are no

   13   remaining or unadjudicated “for cause” challenges, counsel for each side will be permitted

   14   to exercise their respective peremptory challenge(s) through the Court. Upon the exercise

   15   of a peremptory challenge, a replacement juror will be seated, will respond to voir dire and

   16   will be subject to a “for cause” challenge before any remaining peremptory challenge is

   17   exercised.

   18                       b.      Opening Statements, Examining Witnesses, and Summation

   19                               1. At the end of each day, counsel presenting his or her case

   20   shall advise opposing counsel of the witnesses expected to testify the following day with

   21   an estimate of the length of direct examination for each witness. Opposing counsel shall

   22   provide an estimate of the length of cross-examination for each witness. Cooperation

   23   of counsel will ensure an efficient trial process. It is the responsibility of all counsel to

   24   arrange the appearance of witnesses in order to avoid delay.

   25                               2. Opening statements, examination of witnesses and

   26   summation will be from the lectern only. Counsel should not spend an unreasonable

   27   amount of time writing out words or drawing charts or diagrams. Counsel may do so in

   28   advance and explain that the item was prepared earlier to save time as ordered by the


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        Court.
   2                               3. The Court will honor reasonable time estimates for opening

   3    and closing presentations to the jury.

   4                               4. In jury trials, where a party has more than one lawyer, only

   5    one may conduct the direct or cross-examination of a given witness.

   6                               5. If a witness is on the stand when a recess is taken, it is

   7    counsel’s duty to have the witness back on the stand, ready to proceed, when the trial

   8    resumes.

   9                               6. If a witness was on the stand at adjournment, it is counsel’s

   10   duty to have the witness adjacent to, but not on, the stand, ready to proceed when the

   11   trial resumes.

   12                              7. It is counsel’s duty to notify the Courtroom Deputy Clerk in

   13   advance if any witness should be accommodated in an appropriate manner due to any

   14   disability or other physical need.

   15                              8. The Court attempts to accommodate physicians, scientists

   16   and all other professional witnesses and will, except in extraordinary circumstances,

   17   permit them to testify out of order. The Court may do the same with respect to non-party

   18   witnesses who have work or family commitments. Counsel must anticipate any such

   19   possibility and discuss it with opposing counsel. If there is objection to having a particular

   20   witness called out of order, counsel shall confer with the Court in advance.

   21                      c.      Objections and General Decorum

   22                              1. When objecting, counsel must stand to state the objection

   23   and state only that counsel objects and the legal ground for objection. If counsel wishes

   24   to argue an objection further, counsel must ask for permission to do so; the Court may or

   25   may not grant a request for conference at sidebar. The Court strongly discourages the

   26   excessive use of sidebars because this is inefficient. Instead, evidentiary issues should be

   27   anticipated in advance of trial and should be addressed through motions in limine and/or

   28   in connection with the rulings on exhibits.


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                                    2. Counsel must not approach the Courtroom Deputy Clerk
   2    or the witness stand without permission. When permission is given, counsel shall return

   3    to the lectern when the task has been completed. Counsel must not engage in questioning

   4    a witness at the witness stand absent specific approval by the Court.

   5                                3. Counsel must address all remarks to the Court. Counsel are

   6    not to address the Courtroom Deputy Clerk, the Reporter, persons in the audience, or

   7    opposing counsel. If counsel wishes to speak with opposing counsel, counsel must ask

   8    permission to talk off the record. Any request for the re-reading of questions or answers

   9    shall be addressed to the Court, not to the court reporter.

   10                               4. Counsel must not make an offer of stipulation unless counsel

   11   already has conferred with opposing counsel and has reason to believe the stipulation

   12   will be acceptable.

   13                               5. On the first day of trial counsel shall advise the Court of any

   14   commitments that may result in counsel’s absence or late arrival on any day of the trial.

   15                         d.    Exhibits

   16                               1. Each counsel should keep counsel’s own list of exhibits and

   17   should keep track of when each has been admitted in evidence.

   18                               2. Each counsel is responsible for any exhibits that counsel

   19   secures from the Courtroom Deputy Clerk and, during all recesses and noontime and

   20   afternoon adjournments, counsel must return all exhibits in counsel’s possession to the

   21   Courtroom Deputy Clerk.

   22                               3. An exhibit not previously marked should, at the time of its

   23   first mention, be accompanied by a request that the Courtroom Deputy Clerk mark it for

   24   identification. To save time, counsel must show a new exhibit to opposing counsel before

   25   it is mentioned in Court.

   26                               4. Counsel should move exhibits into evidence as soon as

   27   admissibility is established, while they are freshly in the minds of all participants. If there

   28   is an objection, the motion to admit will be dealt with at the next available recess. In jury


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         trials, no exhibit shall be read or displayed to the jury until admitted absent a pre-trial
    2    stipulation by counsel or a ruling by the Court.

    3                               5. Absent unusual circumstances, counsel must not ask

    4    witnesses to draw charts or diagrams nor ask the Court’s permission for a witness to do

    5    so. If counsel wishes to question a witness in connection with graphic aids, the material

    6    must be fully prepared before the court session starts.

    7                        e.     Depositions

    8                               1. All depositions that will be used in the trial, either as evidence

    9    or for impeachment, must be signed and lodged with the Courtroom Deputy Clerk on the

    10   first day of trial or such earlier date as the Court may order. For any deposition in which

    11   counsel is interested, counsel should check with the Courtroom Deputy Clerk to confirm

    12   that the Courtroom Deputy Clerk has the transcript and that the transcript is properly

    13   signed.

    14                              2. In using depositions for impeachment, counsel shall first

    15   announce both the beginning and ending page and line references of the passage desired

    16   to be read, and allow opposing counsel an opportunity to state any objection. If an

    17   objection is made, counsel shall await a ruling before proceeding. In addition, counsel

    18   who has not requested the reading shall advise the Court whether counsel requests

    19   a ruling as to any objection(s) made on the record or reserved during the deposition

    20   testimony at issue. In reading deposition testimony, counsel shall use one of the following

    21   procedures:

    22                                      a. If counsel wishes to read the questions and answers

    23   as alleged impeachment and ask the witness no further questions on that subject, counsel

    24   may merely read the relevant portions of the deposition into the record.

    25                                      b. If counsel wishes to ask the witness further questions

    26   on the subject matter (this does not include a question whether the witness’s testimony

    27   has changed between deposition and trial) the deposition is placed in front of the witness

    28   and the witness is told to read silently the pages and lines involved. Then counsel may


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         either ask the witness further questions on the matter and thereafter read the quotations
    2    or read the quotations and thereafter ask further questions. Counsel should have an extra

    3    copy of the deposition for this purpose.

    4                                3. Where a witness is absent and the witness’ testimony is

    5    offered by deposition, please observe the following procedure. A reader should occupy

    6    the witness chair and read the testimony of the witness while the examining lawyer asks

    7    the questions.

    8                        f.      Advance Notice of Evidentiary or Difficult Questions

    9                                1. If during trial, counsel has reason to anticipate that a difficult

    10   and unexpected question of law or evidence will raise legal argument, requiring research

    11   and/or briefing, counsel must give the Court advance notice. Counsel are directed to

    12   notify the Courtroom Deputy Clerk at the day’s adjournment if an unexpected legal issue

    13   arises that could not have been foreseen and addressed by a motion in limine (see Fed.

    14   R. Evid. 103). To the maximum extent possible, such matters shall be taken outside

    15   normal trial hours (e.g., recess, before or after the trial day).

    16   IT IS SO ORDERED.

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                                                                  JOHN A. KRONSTADT
                                                                  UNITED STATES DISTRICT JUDGE
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                                      EXHIBIT E
   2
                    STANDING PROTECTIVE ORDER FOR PATENT CASES
   3                    ASSIGNED TO JUDGE JOHN A. KRONSTADT

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   9                              UNITED STATES DISTRICT COURT

                                 CENTRAL DISTRICT OF CALIFORNIA
   10
   11 Plaintiff’s Name(s),                            Case No.:                          JAK ( x)

                        Plaintiff(s),
   12                                                  STANDING PROTECTIVE ORDER FOR
             vs.                                       PATENT CASES ASSIGNED TO JUDGE
   13                                                  JOHN A. KRONSTADT
        Defendant’s Name(s),
   14                 Defendant(s).
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   17         NOTE: SUBMISSION OF A DOCUMENT APPEARING TO BE THIS FORM

   18    SHALL BE A CERTIFICATION THAT IT IS THIS FORM UNLESS CLEARLY NOTED

   19    OTHERWISE IN THE TITLE ABOVE WITH THE WORD “(MODIFIED).” COUNSEL

   20    SHALL ADHERE TO THE ASSIGNED MAGISTRATE JUDGE’S REQUIREMENTS

   21    WITH RESPONSE TO THE PREPARATION OF PROTECTIVE ORDERS FOR ALL

   22    NON-PATENT CASES.

   23         1.             PURPOSE AND LIMITS OF THIS ORDER

   24         Discovery in this action is likely to involve confidential, proprietary or private

   25    information requiring special protection from public disclosure and from use for any

   26    purpose other than this litigation. Thus, the Court enters this Protective Order. This Order

   27    does not confer blanket protections on all disclosures or responses to discovery, and the

   28    protection it gives from public disclosure and use extends only to the specific material


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        entitled to confidential treatment under the applicable legal principles. This Order does
   2    not automatically authorize the filing under seal of material designated under this Order.

   3    Instead, the parties must comply with Local Rule 7-5.1 and this Order if they seek to file

   4    anything under seal. This Order does not govern the use at trial of material designated

   5    under this Order.

   6         2.             DESIGNATING PROTECTED MATERIAL

   7         2.1            Over-Designation Prohibited. Any party or non-party who designates

   8    information or items for protection under this Order as “CONFIDENTIAL,” “HIGHLY

   9    CONFIDENTIAL - ATTORNEY EYES ONLY,” or “HIGHLY CONFIDENTIAL - SOURCE

   10   CODE” (a “designator”) must only designate specific material that qualifies under the

   11   appropriate standards. To the extent practicable, only those parts of documents, items or

   12   oral or written communications that require protection shall be designated. Designations

   13   with a higher confidentiality level when a lower level would suffice are prohibited. Mass,

   14   indiscriminate, or routinized designations are prohibited. Unjustified designations expose

   15   the designator to sanctions, including the Court’s striking all confidentiality designations

   16   made by that designator. Designation under this Order is allowed only if the designation

   17   is necessary to protect material that, if disclosed to persons not authorized to view it,

   18   would cause competitive or other recognized harm. Material may not be designated if it

   19   has been made public, or if designation is otherwise unnecessary to protect a secrecy

   20   interest. If a designator learns that information or items that it designated for protection

   21   do not qualify for protection at all or do not qualify for the level of protection initially

   22   asserted, that designator must promptly notify all parties that it is withdrawing the

   23   mistaken designation.

   24        2.2            Manner and Timing of Designations. Designation under this Order

   25   requires the designator to affix the applicable legend (“CONFIDENTIAL,” “HIGHLY

   26   CONFIDENTIAL - ATTORNEY EYES ONLY,” or “HIGHLY CONFIDENTIAL - SOURCE

   27   CODE”) to each page that contains protected material. For testimony given in deposition

   28   or other proceeding, the designator shall specify all protected testimony and the level


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        of protection being asserted. It may make that designation during the deposition or
   2    proceeding, or may invoke, on the record or by written notice to all parties on or before

   3    the next business day, a right to have up to 21 days from the deposition or proceeding

   4    to make its designation.

   5          2.2.1        A party or non-party that makes original documents or materials

   6    available for inspection need not designate them for protection until after the inspecting

   7    party has identified which material it would like copied and produced. During the inspection

   8    and before the designation, all material shall be treated as HIGHLY CONFIDENTIAL -

   9    ATTORNEY EYES ONLY. After the inspecting party has identified the documents it wants

   10   copied and produced, the producing party must designate the documents, or portions

   11   thereof, that qualify for protection under this Order.

   12         2.2.2        Parties shall give advance notice if they expect a deposition or other

   13   proceeding to include designated material so that the other parties can ensure that only

   14   authorized individuals are present at those proceedings when such material is disclosed

   15   or used. The use of a document as an exhibit at a deposition shall not in any way affect

   16   its designation. Transcripts containing designated material shall have a legend on the title

   17   page noting the presence of designated material, and the title page shall be followed by a

   18   list of all pages (including line numbers as appropriate) that have been designated, and

   19   the level of protection being asserted. The designator shall inform the court reporter of

   20   these requirements. Any transcript that is prepared before the expiration of the 21−day

   21   period for designation shall be treated during that period as if it had been designated

   22   HIGHLY CONFIDENTIAL - ATTORNEY EYES ONLY unless otherwise agreed. After the

   23   expiration of the 21-day period, the transcript shall be treated only as actually designated.

   24         2.3          Inadvertent Failures to Designate. An inadvertent failure to designate

   25   does not, standing alone, waive protection under this Order. Upon timely assertion or

   26   correction of a designation, all recipients must make reasonable efforts to ensure that

   27   the material is treated according to this Order.

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              3.           CHALLENGING CONFIDENTIALITY DESIGNATIONS
    2         All challenges to confidentiality designations shall proceed under Local Rule 37-1

    3    through Local Rule 37-4.

    4         4.           ACCESS TO DESIGNATED MATERIAL

    5         4.1          Basic Principles. A receiving party may use designated material only

    6    for this litigation. Designated material may be disclosed only to the categories of persons

    7    and under the conditions described in this Order.

    8         4.2          Disclosure of CONFIDENTIAL Material Without Further Approval.

    9    Unless otherwise ordered by the Court or permitted in writing by the designator, a receiving

    10   party may disclose any material designated CONFIDENTIAL only to:

    11        4.2.1        The receiving party’s outside counsel of record in this action and

    12   employees of outside counsel of record to whom disclosure is reasonably necessary;

    13        4.2.2        The officers, directors, and employees of the receiving party to whom

    14   disclosure is reasonably necessary, and who have signed the Agreement to Be Bound

    15   (Exhibit E-1);

    16        4.2.3        Experts retained by the receiving party’s outside counsel of record to

    17   whom disclosure is reasonably necessary, and who have signed the Agreement to Be

    18   Bound (Exhibit E-1);

    19        4.2.4        The Court and its personnel;

    20        4.2.5        Outside court reporters and their staff, professional jury or trial

    21   consultants, and professional vendors to whom disclosure is reasonably necessary, and

    22   who have signed the Agreement to Be Bound (Exhibit E-1);

    23        4.2.6        During their depositions, witnesses in the action to whom disclosure is

    24   reasonably necessary and who have signed the Agreement to Be Bound (Exhibit E-1); and

    25        4.2.7        The author or recipient of a document containing the material, or a

    26   custodian or other person who otherwise possessed or knew the information.

    27        4.3          Disclosure of HIGHLY CONFIDENTIAL - ATTORNEY EYES ONLY

    28   and HIGHLY CONFIDENTIAL - SOURCE CODE Material Without Further Approval.


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        Unless permitted in writing by the designator, a receiving party may disclose material
   2    designated HIGHLY CONFIDENTIAL - ATTORNEY EYES ONLY or HIGHLY

   3    CONFIDENTIAL - SOURCE CODE without further approval only to:

   4         4.3.1         The receiving party’s outside counsel of record in this action and

   5    employees of outside counsel of record to whom it is reasonably necessary to disclose

   6    the information;

   7         4.3.2         The Court and its personnel;

   8         4.3.3         Outside court reporters and their staff, professional jury or trial

   9    consultants, and professional vendors to whom disclosure is reasonably necessary, and

   10   who have signed the Agreement to Be Bound (Exhibit E-1); and

   11        4.3.4         The author or recipient of a document containing the material, or a

   12   custodian or other person who otherwise possessed or knew the information.

   13        4.4           Procedures for Approving or Objecting to Disclosure of HIGHLY

   14   CONFIDENTIAL - ATTORNEY EYES ONLY or HIGHLY CONFIDENTIAL - SOURCE

   15   CODE Material to In-House Counsel or Experts. Unless agreed to in writing by the

   16   designator:

   17        4.4.1         A party seeking to disclose to in−house counsel any material designated

   18   HIGHLY CONFIDENTIAL - ATTORNEY EYES ONLY must first make a written request

   19   to the designator providing the full name of the in-house counsel, the city and state of

   20   such counsel’s residence, and such counsel’s current and reasonably foreseeable future

   21   primary job duties and responsibilities in sufficient detail to determine present or potential

   22   involvement in any competitive decision-making. In-house counsel are not authorized to

   23   receive material designated HIGHLY CONFIDENTIAL - SOURCE CODE.

   24        4.4.2         A party seeking to disclose to an expert retained by outside counsel of

   25   record any information or item that has been designated HIGHLY CONFIDENTIAL -

   26   ATTORNEY EYES ONLY or HIGHLY CONFIDENTIAL - SOURCE CODE must first make

   27   a written request to the designator that (1) identifies the general categories of HIGHLY

   28   CONFIDENTIAL - ATTORNEY EYES ONLY or HIGHLY CONFIDENTIAL - SOURCE


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        CODE information that the receiving party seeks permission to disclose to the expert,
   2    (2) sets forth the full name of the expert and the city and state of his or her primary

   3    residence, (3) attaches a copy of the expert’s current resume, (4) identifies the expert’s

   4    current employer(s), (5) identifies each person or entity from whom the expert has received

   5    compensation or funding for work in his or her areas of expertise (including in connection

   6    with litigation) in the past five years, and (6) identifies (by name and number of the case,

   7    filing date, and location of court) any litigation where the expert has offered expert

   8    testimony, including by declaration, report or testimony at deposition or trial, in the

   9    past five years. If the expert believes any of this information at (4) - (6) is subject

   10   to a confidentiality obligation to a third party, then the expert should provide whatever

   11   information the expert believes can be disclosed without violating any confidentiality

   12   agreements, and the party seeking to disclose the information to the expert shall be

   13   available to meet and confer with the designator regarding any such confidentiality

   14   obligations.

   15        4.4.3         A party that makes a request and provides the information specified

   16   in paragraphs 4.4.1 or 4.4.2 may disclose the designated material to the identified

   17   in-house counsel or expert unless, within seven days of delivering the request, the

   18   party receives a written objection from the designator providing detailed grounds for

   19   the objection.

   20        4.4.4         All challenges to objections from the designator shall proceed under

   21   Local Rule 37-1 through Local Rule 37-4.

   22        5.            SOURCE CODE

   23        5.1           Designation of Source Code. If production of source code is

   24   necessary, a party may designate it as HIGHLY CONFIDENTIAL - SOURCE CODE if it

   25   is, or includes, confidential, proprietary, or trade secret source code.

   26        5.2           Location and Supervision of Inspection. Any HIGHLY

   27   CONFIDENTIAL - SOURCE CODE produced in discovery shall be made available for

   28   inspection, in a format allowing it to be reasonably reviewed and searched, during normal


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         business hours or at other mutually agreeable times, at an office of the designating party’s
    2    counsel or another mutually agreeable location. The source code shall be made available

    3    for inspection on a secured computer in a secured room, and the inspecting party shall

    4    not copy, remove or otherwise transfer any portion of the source code onto any recordable

    5    media or recordable device. The designator may visually monitor the activities of the

    6    inspecting party’s representatives during any source code review, but only to ensure that

    7    there is no unauthorized recording, copying or transmission of the source code.

    8          5.3          Paper Copies of Source Code Excerpts. The inspecting party may

    9    request paper copies of limited portions of source code that are reasonably necessary

    10   for the preparation of court filings, pleadings, expert reports, other papers or for deposition

    11   or trial. The designator shall provide all such source code in paper form, including Bates

    12   numbers and the label “HIGHLY CONFIDENTIAL - SOURCE CODE.”

    13         5.4          Access Record. The inspecting party shall maintain a record of any

    14   individual who has inspected any portion of the source code in electronic or paper form,

    15   and shall maintain all paper copies of any printed portions of the source code in a secured,

    16   locked area. The inspecting party shall not convert any of the information contained in

    17   the paper copies into any electronic format other than for the preparation of a pleading,

    18   exhibit, expert report, discovery document, deposition transcript, or other Court document.

    19   Any paper copies used during a deposition shall be retrieved at the end of each day and

    20   must not be left with a court reporter or any other unauthorized individual.

    21         6.           PROTECTED MATERIAL SUBPOENAED OR ORDERED

    22   PRODUCED IN OTHER LITIGATION

    23         6.1          Subpoenas and Court Orders. This Order in no way excuses non-

    24   compliance with a lawful subpoena or court order. The purpose of the duties described in

    25   this section is to alert the interested parties to the existence of this Order and to give the

    26   designator an opportunity to protect its confidentiality interests in the court where the

    27   subpoena or order issued.

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              6.2          Notification Requirement. If a party is served with a subpoena or a
   2    court order issued in other litigation that compels disclosure of any information or items

   3    received by that party in this action and designated in this action as CONFIDENTIAL,

   4    HIGHLY CONFIDENTIAL - ATTORNEY EYES ONLY, or HIGHLY CONFIDENTIAL -

   5    SOURCE CODE, that party must do the following.

   6          6.2.1        Promptly notify the designator in writing. Such notification shall include

   7    a copy of the subpoena or court order.

   8          6.2.2        Promptly notify in writing the party who caused the subpoena or order

   9    to issue in the other litigation that some or all of the material covered by the subpoena or

   10   order is subject to this Order. Such notification shall include a copy of this Order.

   11         6.2.3        Cooperate with all reasonable procedures sought by the designator

   12   whose material may be affected.

   13         6.3           Wait For Resolution of Protective Order. If the designator promptly

   14   seeks a protective order, the party served with the subpoena or court order shall not

   15   produce any information designated in this action as CONFIDENTIAL, HIGHLY

   16   CONFIDENTIAL - ATTORNEY EYES ONLY or HIGHLY CONFIDENTIAL - SOURCE

   17   CODE before a determination by the court where the subpoena or order issued, unless

   18   the party has obtained the designator’s permission. The designator shall bear the burden

   19   and expense of seeking protection of its confidential material in that court.

   20         7.            UNAUTHORIZED DISCLOSURE OF DESIGNATED MATERIAL

   21         If a receiving party learns that, by inadvertence or otherwise, it has disclosed

   22   designated material to any person or in any circumstance not authorized under this Order,

   23   it must immediately (1) notify in writing the designator of the unauthorized disclosures,

   24   (2) use its best efforts to retrieve all unauthorized copies of the designated material,

   25   (3) inform the person or persons to whom unauthorized disclosures were made of all

   26   the terms of this Order, and (4) use reasonable efforts to have such person or persons

   27   execute the Agreement to Be Bound (Exhibit E-1).

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             8.             INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
   2    PROTECTED MATERIAL

   3         When a producing party gives notice that certain inadvertently produced material is

   4    subject to a claim of privilege or other protection, the obligations of the receiving parties

   5    are those set forth in Fed. R. Civ. P. 26(b)(5)(B). This provision is not intended to modify

   6    whatever procedure may be established in an e-discovery order that provides for

   7    production without prior privilege review pursuant to Fed. R. Evid. 502(d) and (e).

   8         9.             FILING UNDER SEAL

   9         Without written permission from the designator or a Court order, a party may not file

   10   in the public record in this action any designated material. A party seeking to file under

   11   seal any designated material must comply with Local Rule 79-5. Filings may be made

   12   under seal only pursuant to a court order authorizing the sealing of the specific material

   13   at issue. The fact that a document has been designated under this Order is insufficient to

   14   justify filing under seal. Instead, parties must explain the basis for confidentiality of each

   15   document sought to be filed under seal. Because a party other than the designator will

   16   often be seeking to file designated material, cooperation between the parties in preparing,

   17   and in reducing the number and extent of, requests for under seal filing is essential.

   18   Accordingly, counsel are ordered to meet and confer in person or by telephone at least

   19   seven (7) calendar days prior to the filing of an application wherein the basis for the

   20   sealing is that it has been deemed confidential by the other party. Not later than two (2)

   21   calendar days after the meet and confer process, the opposing party shall confirm whether

   22   such information shall be designated as confidential or whether it can be made available

   23   to the public. Such an application shall contain the dates and method by which the parties

   24   met and conferred otherwise it will be denied without prejudice to an amended application

   25   being filed after counsel have completed this process. If a receiving party’s request

   26   to file designated material under seal pursuant to Local Rule 79-5.1 is denied by the

        Court, then the receiving party may file the material in the public record unless
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        (1) the designator seeks reconsideration within four (4) days of the denial, or (2) as
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        otherwise instructed by the Court. See supra 11., p. 18.
   2         10.           FINAL DISPOSITION

   3         Within 60 days after the final disposition of this action, each party shall return

   4    all designated material to the designator or destroy such material, including all copies,

   5    abstracts, compilations, summaries and any other format reproducing or capturing

   6    any designated material. The receiving party must submit a written certification to the

   7    designator by the 60-day deadline that (1) identifies (by category, where appropriate) all

   8    the designated material that was returned or destroyed, and (2) affirms that the receiving

   9    party has not retained any copies, abstracts, compilations, summaries or any other format

   10   reproducing or capturing any of the designated material. This provision shall not prevent

   11   counsel from retaining an archival copy of all pleadings, motion papers, trial, deposition

   12   and hearing transcripts, legal memoranda, correspondence, deposition and trial exhibits,

   13   expert reports, attorney work product, and consultant and expert work product, even if

   14   such materials contain designated material. Any such archival copies remain subject to

   15   this Order.

   16   IT IS SO ORDERED.

   17
        Dated:
                                          [NAME]
   18                                     UNITED STATES DISTRICT/MAGISTRATE JUDGE

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    1
                                                 EXHIBIT E-1
    2                                 AGREEMENT TO BE BOUND

    3         I, ___________________________ [print or type full name], of _______________

    4    [print or type full address], declare under penalty of perjury that I have read in its entirety

    5    and understand the Protective Order that was issued by the United States District Court

    6    for the Central District of California on _______ [date] in the case of ___________ [insert

    7    formal name of the case and the number and initials assigned to it by the court].

    8    I agree to comply with and to be bound by all the terms of this Protective Order, and I

    9    understand and acknowledge that failure to so comply could expose me to sanctions and

    10   punishment for contempt. I solemnly promise that I will not disclose in any manner any

    11   information or item that is subject to this Protective Order to any person or entity except

    12   in strict compliance with this Order.

    13        I further agree to submit to the jurisdiction of the United States District Court for

    14   the Central District of California for the purpose of enforcing this Order, even if such

    15   enforcement proceedings occur after termination of this action.

    16        I hereby appoint __________________________ [print or type full name] of

    17   ______________________________________ [print or type full address and telephone

    18   number] as my California agent for service of process in connection with this action or any

    19   proceedings related to enforcement of this Order.

    20        Date: ___________________________

    21        City and State where sworn and signed: _________________________________

    22        Printed name: ____________________

    23        [printed name]

    24        Signature: _______________________

    25        [signature]

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                                       EXHIBIT F
    2                     FORMAT FOR EVIDENTIARY OBJECTIONS

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    1
                                EXHIBIT F: FORMAT FOR EVIDENTIARY OBJECTIONS
    2
    3
                  Declaration/Testimony of _______                                          Objection             Ruling
    4
    5
    6
          Example 1: Entire Declaration of John
    7
          Smith
    8
    9
    10    Start of Deposition..........................................

          .................[1. Language subject to objection]                        1. E.q.,Hearsay, cite.    1. Sustained/
    11                                                                                                            Overruled
          ........................................................................
    12
          ........................................................................
    13    ........................................................................
    14    ........................................................[2.                2. E.g., Lacks            2. Sustained/
                                                                                        foundation, cite.         Overruled
    15    Language subject to objection]

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    19    [3. Language subject to objection]                                         3. E.g., Hearsay, cite.   3. Sustained/
                                                                                                                  Overruled
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    21    ........................................................................

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                     End of Declaration.
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                                       EXHIBIT G
    2     FORMAT OF SUMMARY CHART TO BE ATTACHED TO MOTIONS FOR ATTORNEY’S
          FEES
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                  EXHIBIT G: FORMAT FOR ATTORNEY’S FEES SUMMARY CHARTS
    2
                                                Table 1
    3
                                     Task 1: Motion to Dismiss
    4
              Attorney             Rate                    Hours                Fee
    5
                                                     Total hours spent
             Attorney 1          $XXX/hour           by Attorney 1 on          $XXX
    6        (position)                                    Task 1
                                                     Total hours spent
    7        Attorney 2          $XXX/hour           by Attorney 2 on          $XXX
             (position)                                    Task 1
    8
                  Fee Request for Task 1                 Task 1 Sum         Task 1 Sum
    9
                               Task 2: Motion for Summary Judgment
    10
              Attorney             Rate                    Hours                Fee
    11                                               Total hours spent
             Attorney 1          $XXX/hour           by Attorney 1 on          $XXX
             (position)
    12                                                     Task 2
                                                     Total hours spent
             Attorney 2
    13                           $XXX/hour           by Attorney 2 on          $XXX
             (position)                                    Task 2
    14            Fee Request for Task 2                 Task 2 Sum         Task 2 Sum

    15
                                                Table 2
    16       Attorney       Rate             HOURS BY TASK                   TOTALS
          Attorney 1                Task            Total Hours          Hours:
    17    (position)                                Spent by             Amount: $
                                                    Attorney on
    18                                              Task
                                    i.e., Motion to
    19                              Dismiss
                                    Discovery
    20
                                    Deposition
    21                              Task 4
    22                              Task 5 (etc.)
          Attorney 2                Motion for                           Hours:
    23    (position)                Summary                              Amount: $
                                    Judgment
    24                              Travel

    25                              Task 3
                                    Task 4
    26
                                    Task 5 (etc.)
    27    Total                                                          Hours:
                                                                         Amount: $
    28

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         In addition to the summary tables, the party requesting fees shall submit, to the Chambers’
         email at jak_chambers@cacd.uscourts.gov within 24 hours of filing, an Excel spreadsheet
    2    that contains all time entries for which fees are sought. Those time entries should be
         categorized by attorney and task in a manner that corresponds with the summary tables
    3    provided. The information in Table 1 and Table 2 shall be separated in separate worksheets
         within the Excel spreadsheet.
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